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UNITED	STATES	DISTRICT	COURT	
SOUTHERN	DISTRICT	OF	NEW	YORK	
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SETH	MITCHELL,	 	                	        	       	       	
	       	        	       	       	        	       	       17-CV-1845	(CM)	
	       	        	       	       Plaintiff,	      	       	
	       	        	       	       	        	       	       SECOND	AMENDED		            	
	       	        -against-	      	        	       	       COMPLAINT		           	     	
	       	        	       	       	        	       	       	      	      	       	
Macy’s,	Inc.;	Bloomingdale’s,	Inc.;	 	            	       Honourable	Colleen	McMahon,	
Bank	of	America	Corporation;	CIGNA		 	                    Chief	United	States	District	Judge,	
Corporation;	American	Arbitration	                	       Presiding	
Association;	Local	3	RWDSU/UFCW	                  	       	
United	Storeworkers	Union;	               	       	       Jury	Trial	Requested	
Terrance	P.	Laughlin;	
Karen	Hoguet;	Jeffrey	Kantor;	
Tony	Spring;	Elisa	Garcia,	Esq.;	 	               	       	      	
Nicole	Jones,	Esq.;	Stephen	Von	Wahlde,	Esq.;	
Ann	Lesser,	Esq.;	Michelle	Ronquillo;	Susan		
Wright;	Richard	Law;	Santiago	Fernandez,	Esq.;	
Heather	Santo;	Susan	Schiller;	Elyse	Vogel;	
Ariana	Starace;	Brittany	Pressner;	Robin	
Goodell;	Susan	Shekerchi;	Cynthia	Clemmons;	
Sharen	Freeling;	Brenda	Moses;	Paula	Sabatelli;	
Aahren	DePalma,	Esq.;	Bernard	Manning;		
John	&	Jane	Does	1-1000,	 	
	       	        	       	       Defendants.	
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               SECOND	AMENDED	COMPLAINT	
	                              	




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I.	    PARTIES	

A.	    Plaintiff	Information	

1.	    Seth	Mitchell,	Self-Represented,	Sole	Claimant,	Plaintiff-Prosecutor	
	      208	East	51st	Street,	Suite	391,	New	York	County,	New	York,	10022	
	      Direct	dial:	1.646.801.2045	
	      Email	address:	seth.mitchell@ashemllc.co	
	
B.	    Defendants’	Information	
	
a.	    Entity	Defendants	
	
1.	    Macy’s,	Inc.	(Ticker:	M)	
	      7	West	7th	Street,	Cincinnati,	Ohio,	45202	
	
2.	    Bloomingdale’s,	Inc.	(wholly-owned	division	of	Macy’s,	Inc.)	
	      1000	Third	Avenue,	New	York	County,	New	York,	10022	
	
3.	    Bank	of	America	Corporation	(Ticker:	BAC)	
	      Bank	of	America	Corporate	Center	
	      100	North	Tryon	Street,	Charlotte,	NC	28255	
	
4.	    CIGNA	Corporation	(Ticker:	CI)	
	      900	Cottage	Grove	Road,	Bloomfield,	Connecticut,	06002	
	
5.	    American	Arbitration	Association	
	      120	Broadway,	21st	Floor,	New	York	County,	New	York,	10271	
	
6.	    Local	3	RWDSU/UFCW	United	Storeworkers	Union	
	      31-21	31st	Street	4th	Floor,	Astoria,	New	York,	11106	
	
b.	    Individual	Defendants	
	
7.	    Terrance	P.	Laughlin,	Vice	Chairman,	Head	of	Global	Wealth	and	
	      Investment	Management,	Bank	of	America	Corporation	
	      One	Bryant	Park,	115	West	42nd	Street,	New	York	County,	New	York,	10036	
	      Direct	dial:	1.212.764.0694	
	
8.	    Karen	M.	Hoguet,	Chief	Financial	Officer,	Macy’s,	Inc.	
	      151	West	34th	Street,	New	York	County,	New	York,	10001	
	      Direct	dial:	1.212.494.1615	
	      Email:	Karen.Hoguet@macys.com	
	
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9.	     Jeffrey	A.	Kantor,	Chief	Stores	&	Human	Resources	Officer	
	       151	West	34th	Street,	New	York	County,	New	York,	10001	
	       Direct	dial:	1.212.494.1615	
	       Email:	Jeffrey.kantor@macys.com	
	
10.	    Tony	Spring,	Chairman	&	Chief	Executive	Officer,	Bloomingdale’s,	Inc.		
	       1000	Third	Avenue,	Floor	7,	New	York	County,	New	York,	10001	
	       Direct	dial:	1.212.705.2455	
	       Email:	tony.spring@bloomingdales.com	
	       	
11.	    Elisa	D.	Garcia,	Esq.,	Chief	Legal	Officer,	Macy’s,	Inc.		
	       151	West	34th	Street,	New	York	County,	New	York,	10001	
	       Direct	dial:	1.212.494.1615	
	       Email:	elisa.garcia@macys.com	
	
12.	    Nicole	Jones,	Esq.,	Executive	Vice	President	&	General	Counsel,	CIGNA	
	       900	Cottage	Grove	Road,	Bloomfield,	Connecticut,	06002	
	       Direct	dial:	1.860.226.6000	
	       Email:	niclole.jones@cigna.com	
	
13.	    Stephen	Von	Wahlde,	Esq.,	VP	&	Assistant	General	Counsel,	Macy’s,	Inc.		
	       7	West	7th	Street,	Cincinnati,	Ohio,	45202	
	       Direct	dial:	1.513.579.7389	
	       Email:	Stephen.von.wahlde@macys.com	
	
14.	    Ann	Lesser,	Esq.;	Vice	President,	American	Arbitration	Association	
	       120	Broadway,	21st	Floor,	New	York	County,	New	York,	10271	
	       Direct	dial:	1.212.484.4084	
	       Email:	lessera@adr.org	
	
15.	    Michelle	Ronquillo,	Operating	Vice	President	(HR),	Bloomingdale’s,	Inc.		
	       1000	Third	Avenue,	3rd	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.2455	
	       Email:	michelle.ronquillo@bloomingdales.com	
	
16.	    Susan	Wright,	Director	(HR),	Bloomingdale’s,	Inc.		
	       1000	Third	Avenue,	3rd	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.2044	
	       Email:	susan.wright@bloomingdales.com	
	
17.	    Richard	Law,	(HR),	Bloomingdale’s,	Inc.		
	       1000	Third	Avenue,	3rd	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.2455	
	       Email:	Richard.law@bloomingdales.com	
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18.	    Santiago	Fernandez,	Esq.,	Senior	Counsel,	Macy’s,	Inc.		
	       11	Penn	Plaza,	11th	Floor,	New	York	County,	New	York	10001	
	       Direct	dial:	1.646.429.7507		
		      Email:	Santiago.A.Fernandez@macys.com	
	
19.	    Heather	Santo,	Assistant	Vice	President,	American	Arbitration	Association	
	       120	Broadway,	21st	Floor,	New	York	County,	New	York,	10271	
	       Direct	dial:	1.866.686.6024	
	       Email:	santoh@adr.org	
	
20.	    Susan	Schiller,	Divisional	Sales	Manager,	Bloomingdale’s,	Inc.	
	       1000	Third	Avenue,	6th	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.6308	
	       Email:	susan.schiller@bloomingdales.com	
	
21.	    Elyse	Vogel,	Senior	Manager,	Accommodation/Disability	Leave	
	       Management,	Macy’s,	Inc.	 	
	       7	West	7th	Street,	Cincinnati,	Ohio	
	       Direct	dial:	1.513.579.7990	
	       Email:	elyse.vogel@macys.com	
	       	
22.	    Ariana	Starace,	Sales,	Bloomingdale’s,	Inc.	
	       1000	Third	Avenue,	6th	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.6308	
	       Email:	Ariana.starace@bloomingdales.com	
	
23.	    Brittany	Pressner,	Management	Trainee,	Bloomingdale’s,	Inc.		
	       1000	Third	Avenue,	6th	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.3386	
	       Email:	Brittany.pressner@bloomingdales.com	
	
24.	    Robin	Goodell,	Senior	Technical	Specialist,	Macy’s,	Inc.	
	       7	West	7th	Street,	Cincinnati,	Ohio,	45202	
	       Direct	dial:	1.513.579.7966	
	       Email:	robin.goodell@macys.com	
	
25.	    Susan	Shekerchi,	Sales,	Bloomingdale’s,	Inc.	
	       1000	Third	Avenue,	6th	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.3386	
	       Email:	Susan.shekerchi@bloomingdales.com	
	
26.	    Cynthia	Clemmons,	Sales,	Bloomingdale’s,	Inc.	
	       1000	Third	Avenue,	6th	Floor,	New	York	County,	New	York,	10022	
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	       Direct	dial:	1.212.705.3386	
	       Email:	Cynthia.clemmons@bloomingdales.com	
	
27.	    Sharen	Freeling,	Sales,	Bloomingdale’s,	Inc.	
	       1000	Third	Avenue,	6th	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.3386	
	       Email:	sharen.freeling@bloomingdales.com	
	
28.	    Brenda	Moses,	Sales,	Bloomingdale’s,	Inc.	
	       1000	Third	Avenue,	6th	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.3386	
	       Email:	brenda.moses@bloomingdales.com	
	
29.	    Paula	Sabatelli,	Sales,	Bloomingdale’s,	Inc.	
	       1000	Third	Avenue,	6th	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.3386	
	       Email:	paula.sabatelli@bloomingdales.com	
	
30.	    Aahren	DePalma,	Esq.,	Counsel,	Law	Department,	Macy's,	Inc.	
	       11477	Olde	Cabin	Road,	Suite	400,	Creve	Coeur,	Missouri,	63141	
	       Direct	dial:	1.314.342.6454	
	       Email:	aahren.depalma@macys.com	
	
31.	    Bernard	Manning,	Sales,	Bloomingdale’s,	Inc.	
	       1000	Third	Avenue,	6th	Floor,	New	York	County,	New	York,	10022	
	       Direct	dial:	1.212.705.3386	
	       Email:	bernard.manning@bloomingdales.com	
	
32.	    John	&	Jane	Does	1-1000	 	
	       	
II.	    STATEMENT	OF	CLAIM	
	
A.	     Places	&	Dates	of	Occurrence		

1.	     Bloomingdale’s,	 Inc.,	 1000	 Third	 Avenue,	 New	 York	 County,	 New	 York,	
	       10022	(March	2015	–	Present);	

2.	     208	 East	 51st	 Street,	 New	 York	 County,	 New	 York,	 10022	 (January	 2016	 –	
	       Present);	and	

3.	     Additional	incident	locales,	if	any,	to	be	provided	upon	results	of	discovery	
	       process.	

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B.	    Statement	of	Facts	in	Support	of	Claim	

1.	    PLAINTIFF’S	BONE	FIDES	

	      Good	Plaintiff–Prosecutor	is	Seth	Mitchell,	a	naturally–borne	Citizen	of	the	
United	States	of	America	from	Queens	County,	New	York.		He	is	first-borne	Grand	
Son	to	Henry	M.	Sandler,	United	States	Veteran	Patriot	(Bronze	Star	Medal,	Purple	
Heart).	 He	 earned	 his	 Bachelor	 of	 Science	 in	 Economics	 from	 Cornell	 University	
(Dean’s	 List)	 (Ithaca,	 New	 York)	 and	 his	 Master	 of	 Business	 Administration	 from	
the	Wharton	School	of	the	University	of	Pennsylvania	(Philadelphia,	Pennsylvania).		
He	retains	the	investment	industry’s	most	prestigious,	sought-after,	and	difficult	to	
obtain	certification,	The	Chartered	Financial	Analyst	(“CFA”)	designation.		He	has	
maintained	 gainful	 employment	 with	 such	 top-notch	 global	 financial	 services	
firms	 as	 The	 Goldman	 Sachs	 Group,	 Inc.	 where	 he	 was	 employed	 in	 the	 Firm’s	
highly	prestigious	and	lucrative	Global	Special	Situations	Group,	in	the	Asia	Pacific	
region	where	he	lived	and	worked	for	five	(5)	years.		He	is	formally	credit	–	trained	
and	is	an	expert	in	the	research,	analysis,	valuation,	and	adjudication	of	a	variety	of	
corporate	and	legal	claims.	
	      He	has	significant	hands-on	litigation	experience,	having	asserted	a	variety	
of	meritorious	civil	and	criminal	litigation	claims	in	such	matters	as	Seth	Mitchell	
v.	 Cantor	 Fitzgerald,	 L.P.,	 et	 al.	 (New	 York	 County	 Index	 No.	 108597/2011,	 $US13	
Million	 Default	Claims,	 uncured)	and	Seth	 Mitchell	 v.	 New	 York	 University,	 et	 al.	
(New	York	County	Index	No.	150622/2013,	$US49	Million	Default	Claims,	uncured).		
	      He	 successfully	 completed	 a	 United	 States	 Federal	 civilian	 employment	
assignment,	having	worked	as	a	Field	Operations	Supervisor	for	the	United	States	
Department	of	Commerce	2010	Census	activities	where	he	managed	approximately	
100	employees	in	efficaciously	completing	all	large-scale	project	operations	in	the	
field	on	a	timely	basis.		

2.	    EMPLOYMENT	WITH	MACY’S,	INC.	

	      On	2	March	2015,	good	Plaintiff-Prosecutor	began	employment	as	an	onsite	

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client–facing	 Sales	 “Generalist”	 in	 Macy’s,	 Inc.’s	 Bloomingdale’s,	 Inc.’s	 Division’s	
Flagship	(“headquarters”)	Store	in	the	Luxury	Home	Products	Department,	located	
at	 Floor	 7,	 1000	 Third	 Avenue,	 New	 York	 County,	 New	 York,	 10022;	 his	 Role	
required	 him	 to	 interact	 personally	 with,	 and	 make	 complex	 product	
recommendations	 for,	 a	 well-heeled	 and	 sophisticated	 roster	 of	 global	 high	 –	 net	
work	 clientele	 which	 included	 ultra-wealthy	 individuals	 and	 families,	 corporate	
clients	 such	 as	 designers	 and	 interior	 decorators,	 and	 global	 governmental	
officials.	 	 He	 received	 neither	 base	 salary	 nor	 any	 other	 stable	 weekly	
compensation,	instead	earning	only	a	flat	6%	commission	on	his	“net”	sales	(after	
client	 product	 return	 revenues	 are	 subtracted),	 even	 though	 most	 other	 Luxury	
Home	 Store	 salespeople	 benefitted	 from	 lucrative	 formal	 arrangements	 with	
Bloomingdale’s,	 Inc.	 and	 its	 product	 vendors	 (“Specialist”	 roles	 where	 such	
salespeople	 earned	 vendor-paid	 weekly	 salaries	 and/or	 performance-based	
bonuses	in	addition	to	the	Bloomingdale’s,	Inc.	6%	commission	on	net	sales).	

	      He	 utilized	 diligently	 Macy’s,	 Inc.’s	 proprietary	 Customer	 Relationship	
Management	(“CRM”)	software	called	“B-Connected”	where	he	on-boarded	roughly	
1,000	of	his	own	valued	clients’	relevant	data	over	the	course	of	his	employment.		
Such	 onboarding	 takes	 about	 15	 minutes	 per	 client,	 and	 therefore	 he	 allocated	
about	250	painstaking	work	hours	of	time	to	this	vital	task.		Plaintiff	estimates	that	
each	 client	 is	 “valued”	 conservatively,	 on	 average,	 at	 $US5,000,	 and	 therefore	 his	
“book”	of	clients	is	valued	roughly	at	$US5	Million.		It	is	conclusive	that	Plaintiff’s	
Claim	 for	 Quantum	 Meruit/Unjust	 Enrichment	 is	 meritorious,	 as	 Defendant	
Wright	admitted	as	such	in	an	in-person	discussion	with	him	on	25	January	2017	
where	she	stated	that,	for	all	intents	and	purposes,	he	was	being	illegally	separated	
from	Macy’s,	Inc.	in	order	for	other	[less-deserving]	salespeople	to	literally	steal	his	
$US5	Million	client	book	which	he	accumulated	over	two	years	based	on	diligence,	
hard	work,	professionalism,	honesty,	solid	communication	skills,	and	expertise.		

	      His	 performance	 each	 and	 every	 day	 and	 cumulatively	 through	 his	 illegal	

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employment	 separation	 on	 6	 February	 2017	 was	 exemplary;	 his	 total	 amassed	
revenues	are	an	enviable	$US1.65	Million,	placing	him	in	Bloomingdale’s	Inc.’s	“Top	
Producer	Program”	(which	recognizes	formally	the	most	productive	salespeople	in	
terms	of	top-line	revenue	contribution)	for	2015	and	2016;	such	model	performance	
and	 production	 merited	 without	 doubt	 employment	 advancement	 in	 terms	 of	
higher	 responsibility	 and	 remuneration;	 Plaintiff	 will	 show	 conclusively	 in	 this	
Amended	 Complaint	 that	 he	 not	 was	 not	 only	 denied	 promotion	 opportunities	
unfairly,	but	also	was	denied	them	illicitly,	unconscionably,	and	unjustly.	

3.	      REASONABLE	 ACCOMMODATION	 REQUEST	 “INTERACTIVE	
	        DIALOGUE”	 WITH	 MACY’S,	 INC.;	 MACY’S,	 INC.’S	 PURPOSEFUL	
	        FAILURE	TO	PROVIDE	ACCOMMODATION	

	        On	 10	 November	 2015,	 Plaintiff	 had	 an	 in-person	 meeting	 with	 Defendant	
Ronquillo	to	reasonably	request:		

      1. Use	 of	 mobile	 technology	 for	 business	 communications	 and	 transactions	
         due	 to	 Plaintiff’s	 severe	 allergies	 and	 the	 general	 biologically-based	
         filthiness	 and	 disease-ridden	 nature	 of	 landline	 black	 desk	 phones	 and	
         workstations	 (Plaintiff	 would	 experience	 immediate,	 extreme	 headaches,	
         heaviness	 of	 chest	 and	 severely	 impaired	 breathing,	 lightheadedness	 and	
         sneezing	 fits	 whenever	 he	 used	 such	 dirty	 devices	 to	 the	 extent	 that	 he	
         couldn’t	work	until	the	symptoms	cleared;	
      2. Additional	 20	 minute	 break	 when	 necessary	 to	 ameliorate	 severe	 foot/leg	
         pain	associated	with	Plaintiff’s	permanent	physical	disability	exacerbated	by	
         the	highly	unreasonable	requirement	to	stand	at	work	for	roughly	six	hours	
         per	day	on	Floor	7’s	hard	marble	flooring;	
      3. Employment	 mobility	 Reasonable	 Accommodation	 Request	 to	 transfer	
         work	 assignment	 to	 managerial	 or	 sales	 role	 considered	 a	 “desk	 job”	 for	
         which	 he	 would	 be	 qualified,	 given	 the	 pain	 and	 suffering	 associated	 with	
         the	“standing	role”	and	his	permanent	physical	disability;		
      4. Eliminate	 unnecessary,	 illegal	 job–related	 stressors	 such	 as	 harassment,	
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       hostile	 work	 environment,	 and	 discrimination;	 Plaintiff	 maintains	 two	
       formal	 medical	 certifications	 for	 health	 –	 related	 barriers	 with	 work	
       limitation	requirement	of	low	stress	environment,	dated	9	January	2015	and	2	
       March	 2017,	 authorized	 by	 City	 of	 New	 York	 Human	 Resources	
       Administration	 Department	 of	 Social	 Services,	 Customized	 Assistance	
       Services.		

	      On	22	January	2016	Macy’s,	Inc.	acknowledged	formally	and	in	writing	(with	
Ronquillo	signing-off	on	2	February	2016)	on	its	“Accommodation/Disability	Leave	
Management	 Office	 Response	 to	 Reasonable	 Accommodation”	 notice	 that	 it	 had	
received	 Plaintiff’s	 healthcare	 provider’s	 signed	 Certification	 in	 full	 support	 for	
Plaintiff’s	“desk	job”	Reasonable	Accommodation	request/prohibition	on	“standing	
role”	 (by	 Dr.	 Brian	 Golden,	 MD,	 dated	 15	 December	 2015),	 yet	 Macy’s,	 Inc.,	
Bloomingdale’s,	 Inc.,	 Vogel,	 and	 Ronquillo	 purposefully	 failed	 to	 Grant	 this	
Reasonable	Accommodation	in	Violation	of	Plaintiff’s	Rights	under	Title	VII	of	the	
Civil	Rights	Act	of	1964	and	Americans	with	Disabilities	Act	of	1990,	and	New	York	
State	 and	 City	 Human	 Rights	 Laws,	 instead	 terminating	 his	 employment	 illegally	
on	6	February	2017	via	Retaliatory	Discharge	for	his	engaging	in	the	protected	act	
of	Filing	his	three	EEOC	Charges	against	Macy’s,	Inc.	and	Local	3	Union.	

	      In	response	to	Plaintiff’s	injuries	sustained	by	using	the	filthy,	biologically	-	
contaminated	 black	 landline	 phones	 on	 Floor	 7,	 and	 his	 Reasonable	
Accommodation	 request	 to	 not	 use	 them	 in	 the	 future,	 Vogel	 writes	 in	 the	 22	
January	2016	notice	“….To	accommodate	his	[Plaintiff’s]	request	and	concern	about	
the	 use	 of	 the	 [landline]	 phone,	 the	 store	 should…..make	 available	 to	 the	 employee	
disinfectant	wipes	or	a	disinfectant	spray,	such	as	Lysol….”		In	stark	violation	of	its	
own	formal	directives,	the	defendants	failed	to	ever	provide	Plaintiff	with	requisite	
disinfectant	wipes/spray,	purposefully	depriving	him	of	his	rights	under	Title	VII,	
ADA,	NYSHRL,	and	NYCHRL.		

	      The	 Named	 Defendants	 who	 purposefully	 failed	 to	 comply	 with	 such	
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Federal	 laws	 are:	 Macy’s,	 Inc.,	 Bloomingdale’s,	 Inc.,	 Elisa	 Garcia,	 Esq.,	 Jeffrey	
Kantor,	Elyse	Vogel,	Michelle	Ronquillo,	Susan	Wright,	Susan	Schiller,	and	Ariana	
Starace.	

4.	     EMPLOYMENT–BASED	 HARASSMENT,	 DISCRIMINATION,	 HOSTILE	
	       WORK	 ENVIRONMENT,	 FAILURE	 TO	 PROMOTE,	 FAILURE	 TO	
	       PROVIDE	ACCOMMODATION	

	       Plaintiff	is,	and	always	will	be,	a	CAUCASIAN	JEWISH	MALE	over	45	years	
of	 age,	 a	 naturally-borne	 person	 of	 the	 United	 States	 of	 America	 from	 Queens	
County,	New	York.		Despite	his	objectively	superior	performance	as	a	commission-
based	sales	expert	in	Luxury	Home	Products	from	the	period	2	March	2015	to	his	
illegal	separation	on	6	February	2017,	with	several	accompanying	client	accolades	
communicated	 to	 Bloomingdale’s,	 Inc.	 Flagship	 Store	 General	 Manager	 Dorothy	
Kiely	 on	 many	 occasions,	 he	 not	 only	 did	 not	 get	 promoted	 to	 a	 role	
commensurate	 with	 his	 exemplary	 performance,	 professional	 experience,	
education,	 and	 skills,	 abilities,	 and	 interests,	 but	 also	 was	 denied	 illegally	
reasonable	accommodations	and	a	fair,	professional,	and	civil	work	environment.	

	       A	 key	 aspect	 of	 Plaintiff’s	 success	 at	 Bloomingdale’s,	 Inc.	 was	 the	 quick	
rapport	 and	 trust	 he	 developed	 with	 his	 sophisticated,	 wealthy	 customers	 in	 the	
client-facing	store	environment;	outfitting	homes	with	ultra-high	quality,	complex	
home	 goods	 takes	 very	 strong	 communications	 and	 organizational	 skills,	 a	 high	
degree	of	product	knowledge,	self-confidence,	and	polished	presentation	abilities;	
when	 a	 salesman	 engages	 a	 client	 in	 such	 an	 environment	 and	 begins	 the	 sales	
dialogue,	 it	 is	 understood	 by	 all	 Bloomingdales’,	 Inc.	 sales	 staff	 that	 once	 a	
particular	 salesperson	 is	 engaged	 with	 a	 client,	 that	 salesperson	 becomes	
responsible	 for	 the	 entire	 sales	 journey	 with	 the	 client	 –	 from	 introduction,	 to	
production	 selection,	 to	 POS	 transaction,	 to	 sale	 follow-up	 and	 ongoing	
relationship	management.	

	       On	 several	 occasions	 as	 delineated	 in	 the	 Original	 Complaint,	 defendant	

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Shekerchi,	 a	 Vera	 Wang	 Home	 product	 sales	 “specialist”,	 engaged	 in	 overtly	
harassing	and	intimidating	behaviour	to	both	Plaintiff	and	Plaintiff’s	clients	(once	
engaged	 by	 him)	 on	 Floor	 7.	 	 She	 would	 position	 her	 body	 in	 an	 obstructive	
fashion	 by	 the	 POS	 and	 product	 displays,	 literally	 refusing	 to	 allow	 Plaintiff	 to	
make	client	presentations	and	conduct	transactions	on	behalf	of	such	clients;	she	
would	constantly	scowl	in	menacing,	deranged	fear-inducing	fashion	–	like	a	stark-
raving	 mad	 lunatic	 poised	 to	 attack	 Plaintiff	 and	 his	 clients	 –	 which	 resulted	 in	
unnerving	 and	 making	 Plaintiff	 and	 his	 clients	 extremely	 uncomfortable	 to	 the	
extent	Plaintiff	dreaded	coming	in	close	personal	contact	with	Shekerchi	for	literal	
concern	of	his	and	his	clients’	personal	safety.		Plaintiff’s	formal	oral	and	written	
complaints	 against	 Shekerchi	 to	 both	 local	 Human	 Resources	 (i.e.	 defendant	
Wright	 and	 Union	 Representative	 and	 Executive	 Board	 Member	 and	 defendant	
Moses)	 went	 unheeded,	 (for	 instance	 he	 requested	 that	 Shekerchi	 be	 warned	 to	
not	 come	 within	 10	 feet	 of	 Plaintiff’s	 person	 on	 Floor	 7	 at	 any	 time,	 which	 she	
failed	 to	 do	 and	 Bloomingdale’s,	 Inc.	 failed	 to	 enforce)	 and	 instead	 Plaintiff	
became	 subjected	 to	 illegal	 retaliatory	 and	 disciplinary	 action,	 as	 per	 Wright’s	
communication	 to	 him	 in	 person	 on	 Floor	 3	 at	 1000	 Third	 Avenue,	 New	 York	
County,	 New	 York	 in	 local	 Human	 Resources	 offices	 on	 10	 August	 2016.	 	 Macy’s,	
Inc.,	Bloomingdale’s,	Inc.	and	Local	3	Union’s	failure	to	mitigate	Shekerchi’s	feral,	
animalistic,	behaviour	on	the	salesfloor	contributed	directly	to	the	Bloomingdale’s,	
Inc.	 toxic	 work	 environment	 that	 caused	 directly	 Plaintiff’s	 mental	 anguish,	
emotional	 distress,	 and	 embarrassment.	 	 Enclosed	 herewith	 as	 EXHIBIT	 A	 is	 a	
photo	of	serial	killer	Aileen	Wuornos,	where	the	bone-chilling	visage	is	almost	an	
exact	duplicate	of	the	kind	of	unhinged	visage	one	would	encounter	on	Shekerchi’s	
face	–	enough	to	make	the	strongest	of	us	cringe	in	terror.	

	      As	a	generalist	salesman,	Plaintiff	would	make	product	recommendations	in	
Luxury	home	across	all	vendors	and	product	lines	without	any	bias	or	favouratism	
toward	 any	 of	 them.	 	 A	 major	 component	 of	 Plaintiff’s	 successful	 sales	 activity	
focused	 on	 ultra-high	 quality	 [eider	 duck	 and	 goose]	 down	 products	 like	 pillows	

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and	 duvets.	 	 For	 instance,	 Plaintiff’s	 clients	 purchased	 SFERRA	 Fine	 Linens,	 LLC	
(an	ultra-luxury	Italian	manufacturer	founded	in	1891)		“Cornwall”	900+	fill	power	
Canadian	 goose	 down	 pillows	 and	 duvet	 “inserts”	 and	 client	 feedback	 after	
purchase	 and	 use	 was	 very	 positive.	 (“Fill	 power”	 is	 a	 measure	 of	 efficiency	 of	
“down”	 which	 ranges	 from	 roughly	 200	 –	 900	 maximum,	 where	 down	 is	 a	 plush	
cotton-ball	 like	 material	 that	 covers	 geese	 and	 ducks	 under	 their	 feathers	 and	
provides	 year-round	 aerodynamically-sound	 insulation,	 where	 the	 higher	 the	 fill	
power	 number	 the	 more	 comfort	 and	 insulation	 the	 down	 will	 provide	 for	 an	
equivalent	 weight	 of	 said	 down	 –	 in	 this	 world,	 light	 is	 luxury).	 	 Defendant	
Clemmons	was	the	“down”	sales	specialist,	and	each	and	every	time	Plaintiff	would	
approach	the	down	product	department	with	an	engaged	client	when	Clemmons	
was	 present	 in	 the	 area,	 she	 would	 immediately	 approach	 Plaintiff	 and	 his	 client	
and	 rudely	 interject	 herself	 in	 the	 dialogue,	 literally	 interrupting	 Plaintiff’s	
conversation	 with	 his	 clients,	 babbling	 uncontrollably	 and	 incessantly	 to	 them,	
physically	 and	 socially	 severing	 his	 own	 contact	 with	 them,	 causing	 great	
confusion,	humiliation,	embarrassment,	and	poisoning	of	the	sales	dialogue	to	the	
extent	 that	 several	 of	 Plaintiff’s	 clients	 discontinued	 their	 work	 with	 him	 when	
Clemmons	 so	 uncouthly	 offended,	 leaving	 the	 salesfloor	 without	 any	 product	
fulfillment	whatsoever	(on	one	occasion,	Plaintiff’s	client	was	a	senior	professional	
in	 UBS’s	 Wealth	 Management	 Division	 in	 Florida,	 where	 Clemmons’	 destructive	
behaviour	not	only	negatively	impacted	Plaintiff’s	business	internal	to	Macy’s,	Inc.	
with	 him,	 but	 also	 more	 generally	 caused	 Plaintiff	 severe	 reputational	 damage	
externally	in	the	marketplace;	similar	to	Shekerchi,	Plaintiff	filed	valid	Complaint	
against	Clemmons	to	Macy’s,	Inc.,	Bloomingdale’s,	Inc.,	and	Local	3	Union,	with	all	
such	 defendants	 purposefully	 failing	 to	 correct	 Clemmons	 socially	 and	
professionally	unacceptable	and	graceless	interactions	with	Plaintiff	and	his	clients	
–	ever.		

	       On	 three	 separate,	 distinct	 occasions	 between	 roughly	 September	 –	
December	 2016,	 defendant	 Sabatelli,	 a	 Ralph	 Lauren	 Home	 sales	 specialist,	

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purposefully	exposed	her	bare	breasts	to	Plaintiff	on	the	salesfloor	(Floor	7	by	the	
Ralph	Lauren	bedding	department	at	1000	Third	Avenue,	New	York	County,	New	
York,	10022),	where	such	sexual	harassment	caused	him	severe	emotional	distress,	
mental	 anguish,	 and	 anxiety.	 	 When	 the	 third	 sexual	 harassment	 event	 occurred	
(in	 the	 presence	 of	 fellow	 Ralph	 Lauren	 specialist	 and	 witness	 Karen	 Williams)	
Plaintiff	 emailed	 his	 formal	 complaint	 against	 Sabatelli	 on	 3	 January	 2017	 to	
Richard	 Law,	 local	 Bloomingdale’s,	 Inc.	 Human	 Resources	 employee	 relations	
executive,	as	per	EXHIBIT	 B.		Defendant	Law	failed	to	respond	to	the	Complaint	
orally	 or	 in	 writing,	 failed	 to	 investigate	 the	 Complaint,	 and	 failed	 to	 take	
necessary,	appropriate	action	against	defendant	Sabatelli	on	a	timely	basis,	thereby	
contributing	 to	 the	 toxic	 work	 environment	 to	 the	 purposeful	 detriment	 of	
Plaintiff,	his	valued	clients,	Bloomingdale’s,	Inc.,	and	Macy’s,	Inc.	

	      As	 described,	 Plaintiff,	 as	 a	 generalist	 salesman,	 earned	 only	 6%	 sales	
commission	on	his	client	revenues	as	his	entire	Bloomingdale’s,	Inc.	remuneration;	
he	had	no	“specialist”	side	compensation	agreements	and	even	though	he	applied	
for	 several	 such	 specialist	 roles,	 he	 was	 illegally	 denied	 them	 for	 completely	
discriminatory	 reasons.	 	 If	 another	 salesperson	 works	 with	 Plaintiff’s	 client	 in	 his	
absence	either	on	the	phone	or	in	person	at	Bloomingdale’s,	Inc.	on	his	behalf,	that	
salesperson	 must	 complete	 the	 transaction	 at	 the	 POS	 under	 Plaintiff’s	 employee	
identification	number,	thereby	correctly	allocating	the	6%	commission	to	Plaintiff	
account.	 	 However,	 if	 such	 a	 salesperson	 transacts	 under	 her	 own	 employee	
identification	 number	 with	 Plaintiff’s	 client,	 she	 then	 commits	 theft	 of	 Plaintiff’s	
hard-earned	 commissions,	 as	 she	 will	 receive	 the	 6%	 commission	 on	 Plaintiff’s	
client	instead	of	Plaintiff.		In	early	March	2016,	Plaintiff	learned	that	Ralph	Lauren	
Home	 specialist	 Sharen	 Freeling	 had,	 in	 fact,	 committed	 such	 theft	 of	 Plaintiff’s	
sales	commissions.		Plaintiff	complained	against	Freeling	to	defendant	Starace	(as	
a	 low-level	 local	 sales	 manager)	 about	 his	 stolen	 commissions,	 Freeling’s	 horrific	
personal	hygiene	(she	often	wafted	an	intensely	unbearable	fecal-like	stench),	and	
her	 failure	 to	 abide	 by	 Macy’s,	 Inc.	 information	 security	 protocols	 designed	 to	

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protect	customer	information	(Freeling	would	leave	unattended	a	large	accordion-
style	 folder	 which	 contained	 literally	 hundreds	 of	 historical	 client	 receipts	 which	
possessed	 material	 non-public	 information	 (“MNPI”)	 on	 the	 POS	 counter	 at	 the	
Ralph	Lauren	Home	product	department	on	Floor	7,	at	times	leaving	such	receipts	
exposed	on	the	counter	itself,	where	anyone	could	literally	walk	up	to	this	counter	
and	take	this	MNPI)		Attached	as	EXHIBIT	C	and	EXHIBIT	D	are	photos	dated	25	
June	2015	and	29	August	2015	which	evidence	clearly	such	unchecked	wrongdoing	
by	Freeling.		Starace	promised	action	in	full	on	Plaintiff’s	behalf	by	10	March	2016	
but	purposefully	failed	to	deliver	on	all	counts.		On	11	March	2016	Plaintiff	initiated	
a	 Solutions	 InSTORE	 dispute	 resolution	 request	 against	 Starace	 and	 Freeling	 via	
email	(send	to	Mr.	Kim	Hansen	of	Solutions	InSTORE	at	kim.hansen@macys.com,	
who	 also	 received	 Plaintiff’s	 emailed	 dispute	 resolution	 request	 for	 the	 Shekerchi	
controversy	on	24	March	2016	which	went	unanswered)	to	resolve	the	outstanding	
controversy	surrounding	Freeling	and	Starace’s	failure	to	act	by	her	own-imposed	
deadline	 of	 10	 March	 2016	 against	 Freeling;	 Mr.	 Hansen	 and	 the	 Solutions	
InSTORE	team	failed	to	respond	to	this	request,	the	result	of	which	was	Freeling’s	
continued	 socially	 unprofessional,	 uncivil,	 and	 illegal	 activities	 which	 remained	
unchecked	 due	 to	 Starace	 and	 Solutions	 InSTORE	 purposeful	 failure	 to	 perform	
their	essential	job	functions.		

	      On	 one	 occasion	 in	 late	 December	 2016	 Plaintiff	 was	 speaking	 with	
defendant	Manning,	a	John	Matouk	&	Co.,	Inc.	sales	specialist	(“Matouk”	–	a	well-
received	 American	 ultra-high	 end	 luxury	 bedding	 &	 bath	 product	 manufacturer	
founded	 in	 1929)	 in	 the	 Matouk	 section	 on	 Floor	 7,	 when	 several	 clients	 walked	
past	in	traditional	Jewish	attire	(i.e.	the	men	wearing	yarmulkes	[skull	caps])	and	
Manning	 commented	 to	 Plaintiff	 immediately	 “….you	 see	 them,	 those	 are	 Jews,	
they’re	all	on	welfare	but	they’re	all	very	cash	rich	and	they	hide	their	money	so	they	
can	get	welfare	and	they	never	buy	anything	from	us	[Bloomingdale’s]	because	they	
are	 so	 cheap…”	 or	 words	 very	 similar	 in	 effect.	 	 Plaintiff	 realized	 that	 Manning	
didn’t	 know	 that	 Plaintiff	 himself	 is	 Jewish,	 and	 he	 didn’t	 respond	 to	 Manning’s	

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derogatory	commentary	at	all,	and	that	day	walked	away	from	him	for	good.		

	      Plaintiff	 has	 proven	 unequivocally	 that:	 1)	 his	 performance	 in	 the	 sales	
generalist	role	in	Bloomingdale’s,	Inc.	was	exemplary	and	that	he	was	recognized	
on	 several	 occasions	 by	 local	 Management	 (Plaintiff	 received	 formal	 Letters	 of	
Commendation	based	on	positive	client	feedback	from	Dorothy	Kiely,	Senior	Vice	
President	&	General	Manager	of	the	Bloomingdale’s,	Inc.	Flagship	Store,	dated	14	
December	2016	and	20	January	2017,	at	least,	in	addition	to	being	an	inductee	into	
the	Bloomingdale’s,	Inc.	“Top	Producer	Program”	in	both	2015	and	2016);	and	2)	his	
educational	 experiences,	 professional	 background	 and	 certifications,	 skills,	 and	
abilities	as	discussed	in	Plaintiff’s	Bone	Fides	are	superlative	–	he	has	an	extremely	
enviable	 “A-team”	 pedigree	 which	 translates	 into	 his	 being	 highly	 qualified	 for	
specialist	 roles,	 managerial	 roles,	 and,	 without	 doubt,	 senior	 leadership	 roles	
within	Macy’s,	Inc.	Administration	itself.	

	      Yet,	the	many,	many	open	internal	job	postings	Plaintiff	applied	for	(where	
he	 was	 in	 fact	 fully-qualified)	 went	 unanswered	 –	 each	 and	 every	 time.	 	 Plaintiff	
discussed	with	defendant	Starace	his	interest	in	being	considered	for	promotional	
opportunities	in	person,	and	she	always	vehemently	opposed	his	requests	for	her	
support	because	of	Plaintiff’s	actual	disabilities	or	his	perceived	disabilities	(as	part	
of	 the	 Discovery	 process	 Plaintiff	 will	 learn	 what,	 exactly,	 are	 the	 “perceived”	
disabilities	 that	 Starace	 was	 alluding	 to	 which	 prevented	 him	 from	 obtaining	 his	
requested	 Reasonable	 Accommodations	 and	 the	 lawful	 consideration	 for	
employment	mobility	in	roles	for	which	he	was	entirely	qualified.	

	      For	 instance,	 Plaintiff	 applied	 for	 the	 role	 of	 “[bridal]	 Registry	 Manager”	
(Floor	6,	1000	Third	Avenue,	New	York	County,	New	York,	10022)	for	which	he	was	
fully	 qualified	 (and	 a	 “desk	 job”),	 and	 sent	 an	 email	 to	 defendants	 Wright	 and	
Ronquillo	 on	 12	 June	 2016	 requesting	 follow-up	 on	 this	 internal	 employment	
Application	given	Bloomingdale’s,	Inc.’s	failure	to	answer	him	previously;	neither	
Wright	 nor	 Ronquillo	 ever	 answered	 Plaintiff’s	 formal	 written	 request	 for	 an	
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update	on	his	candidacy	for	Registry	Manager.		Eventually,	an	external	individual	
(“Cheryl”)	of	questionable	qualification	was	hired	for	the	role	of	Registry	Manager,	
proving	 Plaintiff’s	 contention	 that	 he	 was	 illegally	 denied	 fair	 and	 reasonable	
internal	 employment	 mobility	 consideration	 by	 Starace,	 her	 manager	 Schiller,	
Wright,	and	Ronquillo,	at	least.	

	      Most	 if	 not	 all	 of	 the	 interpersonal	 interactions	 on	 the	 salesfloor	 between	
Plaintiff	and	local	low-level	management	–	always	initiated	by	these	“low-levelers”	
were	contentious,	disparaging,	and	abusive	–	designed	solely	to	demean,	degrade,	
embarrass,	and	subjugate	Plaintiff.		For	instance,	on	one	evening	in	November	2016	
when	Plaintiff	was	working	in	the	Hudson	Park	luxury	linens	department	(a	well-
received	 Bloomingdale’s,	 Inc.	 proprietary	 brand)	 on	 Floor	 7	 in	 the	 early	 evening,	
Furniture	Department	Manager	“Al”	approached	Plaintiff	and	literally	ordered	him	
to	get	on	his	hands	and	knees	and	clean	the	floor.		Shocked,	Plaintiff	told	“Al”	that	
his	role	is	as	a	salesman	and	not	a	member	of	the	cleaning	staff.		Yet,	he	told	him,	
if	Al	continued	to	demand	that	Plaintiff	clean	the	floor,	he	would	change	out	of	his	
expensive	high	quality	suit	and	tie	he	had	on	at	the	time,	put	on	sweatpants	and	a	
tee	shirt,	and	get	on	his	hands	and	knees	and	clean	the	floor	–	after-hours	once	all	
clients	 left.	 	 Al	 didn’t	 speak	 and	 remained	 silent,	 and	 then	 Plaintiff	 walked	 away	
from	Al	for	good.	

	      On	 19	 January	 2017,	 in	 the	 late	 afternoon,	 defendant	 Pressner	 approached	
Plaintiff	whilst	he	was	working	in	the	Ralph	Lauren	Home	Department	on	Floor	7	
and	attempted	to	literally	force	him	to	stop	working,	in	front	of	the	general	public,	
clients,	 and	 other	 salespeople	 shouting	 injuriously	 and	 loudly	 “…take	 yourself	 off	
the	 salesfloor	 now…!”	 for	 no	 apparent	 business	 reason	 or	 any	 remotely-legal	
grounds.	 	 Plaintiff	 calmly,	 quietly,	 and	 professionally	 attempted	 to	 counsel	 this	
immature,	 inexperienced,	 and	 unknowledgeable	 “management	 trainee”	 that	
Plaintiff	 was	 engaging	 in	 client-related	 activities	 and	 that	 since	 she	 could	 not	
provide	a	valid	or	reasonable	substantiation	for	her	demand	for	his	work	stoppage,	

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he	needed	to	continue	working.		Pressner	then	screeched	“OK	then	I	will	continue	
onward,”	or	words	similar	in	effect,	and	proceeded	to	traverse	the	salesfloor.		On	25	
January	 2017,	 in	 the	 in-person	 meeting	 with	 Wright,	 Wright	 admitted	 to	 Plaintiff	
that	 defendant	 Schiller	 had	 compelled	 Pressner	 to	 affront,	 shame,	 disturb,	
embarrass,	 demean,	 and	 defile	 good	 Plaintiff	 –	 Prosecutor,	 in	 effect	 confirming	
that	Schiller	had	thrown	this	young	women	under	the	bus,	permanently	destroying	
her	career.	

	       On	 27	 January	 2017	 at	 13:36,	 Plaintiff	 Filed	 a	 formal	 Macy’s,	 Inc.	 Global	
Compliance	 voice	 report	 (EXHIBIT	 E)	 against	 Wright,	 Schiller,	 Starace,	 and	
Pressner	 for	 harassment,	 discrimination,	 failure	 to	 provide	 disability	
accommodation,	 and	 the	 illicit	 promotion	 of	 hostile	 work	 environment.	 	 On	 30	
January	 2017	 at	 11:01	 Macy’s,	 Inc.	 replied	 “….Thank	 you	 for	 taking	 the	 time	 and	
making	the	effort	to	report	your	concerns.	The	Company	appreciates	the	steps	you	
have	 taken	 to	 ensure	 that	 Company	 policies	 are	 upheld.	 An	 investigation	 was	
completed	 based	 on	 the	 information	 received.	 Appropriate	 action	 was	 taken	 in	
accordance	 with	 company	 policy.	 If	 you	 have	 further	 questions	 or	 concerns,	 please	
contact	Richard	Law	at	richard.law@bloomingdales.com…..”		Defendant	Law	failed	
to	contact	Plaintiff	to	discuss	the	purported	“appropriate	action”	that	was	taken	by	
Macy’s,	Inc.		Instead,	Plaintiff	was	notified	on	6	February	2017	that	he	was	illegally	
separated	from	Macy’s,	Inc.		          	

5.	     UNITED	 STATES	 EQUAL	 EMPLOYMENT	 OPPORTUNITY	 (“EEOC”)	
	       COMMISSION	CHARGES	

	       On	 13	 August	 2016,	 Plaintiff	 initiated	 formal	 EEOC	 action	 against	 Macy’s,	
Inc.	and	Local	3	RWDSU/UFCW	United	Storeworkers	Union	via	a	duly	–	executed	
EEOC	intake	questionnaire.		On	29	November	2016,	Plaintiff	duly	–	executed	two	
EEOC	“Form	5”	Charges,	one	against	Macy’s,	Inc.	(Charge	No.	520-2016-03830)	and	
the	other	against	Local	3	RWDSU/UFCW	United	Storeworkers	Union	(Charge	No.	
520-2017-00660),	 which	 were	 served	 on	 the	 entity	 respondents	 7	 December	 2016	


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and	 9	 December	 2016,	 respectively.	 	 Plaintiff	 Filed	 these	 Charges	 for	
Discrimination	in	stark	violation	of	the	Title	VII	of	the	Civil	Rights	Act	of	1964,	as	
amended,	Disability	in	violation	of	the	Americans	with	Disabilities	Act	of	1990	as	
amended,	and	victim	of	Retaliation	for	participating	in	a	Protected	Activity.	
	        On	 24	 February	 2017,	 Mr.	 Kevin	 J.	 Berry,	 District	 Director,	 EEOC,	 issued	
Notice	 of	 Suit	 Rights	 to	 Plaintiff	 for	 both	 Charges	 that	 he	 received	 on	 10	 March	
2017.	
	        After	Plaintiff’s	Retaliatory	Discharge	from	Macy’s,	Inc.	on	6	February	2017,	
he	 Filed	 a	 “Continuing	 Action”	 EEOC	 Form	 5	 Charge	 (No.	 520-2017-01750)	 on	 22	
March	2017	Indicting	Macy’s,	Inc.	with:	Lack	of	Good	Faith	&	Fair	Dealing,	Fraud,	
Retaliatory	Discharge,	Failure	to	Provide	Accommodation,	Violation	of	Equal	Pay	
Act,	 Defamation	 per	 se,	 Failure	 to	 Promote,	 Failure	 to	 Relieve	 Hostile	 Work	
Environment,	 Harassment	 (sexual	 and	 otherwise),	 Breach	 of	 Contract,	 Quantum	
Meruit/Unjust	Enrichment,	Intentional	Infliction	of	Emotional	Distress,	Violation	
of	 45	 CFR	 §164.530(c)	 in	 concert	 with	 CIGNA	 Corporation,	 Purposeful	 Misuse	 of	
Plaintiff’s	 Social	 Security	 Number	 [by	 Named	 Individual	 Defendant	 Goodell,	 at	
least],	 ERISA	 Violations	 [by	 Named	 Individual	 Defendant	 Von	 Wahlde,	 at	 least].		
This	 Continuing	 Action	 Charge	 is	 subject	 to:	 Title	 VII	 of	 the	 Civil	 Rights	 Act	 of	
1964,	 as	 amended,	 The	 Age	 Discrimination	 in	 Employment	 Act,	 The	 Americans	
with	Disabilities	Act,	and	The	Equal	Pay	Act.		Mr.	Berry,	District	Director,	issued	
Notice	of	Suit	Rights	on	5	April	2017	for	this	Charge	No.	520-2017-01750	which	were	
received	by	Plaintiff	on	22	April	2017	(enclosed	herewith	as	EXHIBIT	F).	
	        On	10	April	2017	Plaintiff	received	a	partial	redacted	transmission	via	email	
of	his	Macy’s,	Inc.	Case	File	from	EEOC	Investigator	Sabrina	Shaver	via	his	EEOC	
Section	83	information	request,	yet	was	shocked	that	he	did	not	receive	his	entire	
unredacted	 EEOC	 Case	 File,	 even	 though	 he	 certified	 that	 such	 information	 was	
vital	to	the	initiation	and	efficient	processing	of	this	Federal	lawsuit;	the	Case	File	
sent	 to	 him	 contained	 absolutely	 no	 evidence	 that	 EEOC	 investigators	 contacted	
and	communicated	with	the	respondents	in	writing,	via	email,	via	facsimile,	on	the	


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phone,	or	in	person,	nor	any	evidence	that	any	valuable	research	and	analysis	was	
conducted	 by	 EEOC	 to	 frame	 the	 facts	 underlying	 the	 Charges	 (i.e.	 no	 work	 was	
done	to	understand:	the	extent	of	Plaintiff’s	unequal	pay	vs.	other	salespeople	who	
Macy’s,	 Inc.	 did	 not	 discriminate	 against,	 the	 extent	 that	 less	 deserving,	 less	
qualified	 employees	 were	 promoted	 illegally	 ahead	 of	 Plaintiff,	 such	 as	 those	
without	 United	 States	 citizenship,	 what	 information	 was	 even	 contained	 in	
Plaintiff’s	 formal	 Employee	 File!)	 A	 reasonable	 person	 can	 only	 conclude	 that,	 in	
fact,	 EEOC	 purposefully	 failed	 to	 research,	 analyze,	 and	 investigate	 the	 Charge	
allegations	at	all,	unethically	shirking	its	formal	legal	responsibilities	to	Plaintiff	–
and	 derivatively	 the	 People	 of	 the	 United	 States	 of	 America	 –	 as	 it	 appears	 there	
was	absolutely	no	interaction	between	the	EEOC	and	the	respondents,	and	that	no	
fact	 –	 gathering,	 logical	 due	 diligence	 and	 analysis,	 and	 rational	 decision-making	
was	 ever	 made	 at	 New	 York	 District	 Office	 at	 EEOC	 at	 all	 regarding	 Plaintiff’s	
meritorious	Charges	against	Macy’s,	Inc.	and	Local	3	Union.		
	       On	 10	 April	 2017,	 EEOC	 Supervisory	 Investigator	 Charles	 Diamond	
acknowledged	 via	 email	 that	 the	 Case	 File	 contained	 more	 information	 than	 had	
been	 transmitted	 to	 Plaintiff,	 yet	 he	 refused	 to	 release	 such	 information	 to	 him,	
even	knowing	full	well	that	such	details	would	be	vital	to	the	efficient	prosecution	
of	this	matter	now	before	Court;	this	purposeful	failure	on	the	part	of	EEOC	New	
York	District	Office	to	provide	full	discovery	details	further	aggrieves	and	deprives	
Plaintiff	of	his	rightful	pursuit	of	his	meritorious	claims	in	Court.		Good	Plaintiff	–	
Prosecutor	 will	 be	 requesting	 Court	 to	 issue	 a	 Production	 Subpoena	 to	 compel	
EEOC	to	provide	full	discovery	so	that	his	Claims	may	be	completely	and	properly	
vetted	 by	 Court	 as	 per	 his	 rights	 under	 the	 Constitution	 of	 the	 United	 States	 of	
America	and	any	and	all	applicable	Federal	law.	
	
6.	     29	 U.S.	 CODE	 §1132-CIVIL	 ENFORCEMENT	 FOR	 FAILURE	 TO	 MAKE	
	       EMERGENCY	 HARDSHIP	 WITHDRAWALS,	 29	 U.S.	 CODE	 §1104-
	       FIDUCIARY	 DUTIES	 (MACY’S,	 INC.	 401(K)	 RETIREMENT	
	       INVESTMENT	 PLAN):	 BANK	 OF	 AMERICA	 CORPORATION,	 MACY’S,	
	       INC.	
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	      Plaintiff	made	several	good	faith	formal	valid	requests	of	Macy’s,	Inc.’s	401k	
Plan	Administrator	Bank	of	America	Corporation’s	Bank	of	America	Merrill	Lynch	
Wealth	 &	 Investment	 Management	 Unit	 (“BAML”)	 completely	 and	 formally	 in	
writing	beginning	on	7	June	2016	for	valid	emergency	hardship	withdrawals	due	to	
eviction	threats	from	his	primary	residence	in	New	York	County,	New	York.		BAML	
illegally,	unjustly,	unethically,	and	immorally	denied	each	and	every	plea	for	such	
requisite	 emergency	 liquidity	 as	 within	 his	 rights,	 and	 the	 result	 was	 his	 forced	
eviction	 from	 such	 primary	 residence	 on	 20	 June	 2016	 due	 solely	 to	 BAML’s	
heinous	 and	 illicit	 purposeful	 failures	 to	 make	 the	 lawful	 emergency	 liquidity	
distribution	on	a	timely	basis.		On	2	August	2016	a	final	written	request	for	private	
conflict	 resolution	 with	 BAML	 was	 made	 to	 authorized	 BAML	 senior	
representative	Ms.	Sandra	L.	David,	GWIM	Registered	Group	Operations	Manager,	
Vice	 President,	 Employee	 Retirement	 Savings	 Center,	 Merrill	 Lynch	 Wealth	
Management,	 4803	 Deer	 Lake	 Drive	 West,	 Jacksonville,	 Florida,	 32246	 and	 on	 12	
August	 2016	 this	 Offer	 expired	 based	 upon	 BAML’s	 purposeful	 refusal	 to	 act	 in	
good	faith	whatsoever.	
	      Plaintiff	 then	 petitioned	 directly	 the	 Macy’s,	 Inc.	 Pension	 &	 Profit	 Sharing	
Committee	 (“Committee”)	 formally	 for	 such	 an	 emergency	 hardship	 withdrawal	
(“the	 BAML	 override”)	 and	 compensatory	 damages	 on	 4	 September	 2016	 as	 per	
Article	 8.2	 “Withdrawals	 During	 Employment”	 requests	 (as	 defined	 by	 the	
Amended	 and	 Restated	 Macy’s	 Inc.	 401(k)	 Retirement	 Investment	 Plan	 (“Plan”)	
effective	1	January	2014	(“the	Plan”),	duly	–	executed	by	Executive	Vice	President,	
Human	 Resources	 19	 December	 2013).	 	 Named	 defendant	 Von	 Wahlde	 was	
assigned	 the	 matter	 on	 behalf	 of	 the	 Committee.	 	 Defendant	 Von	 Wahlde	 then	
illegally	denied	(based	on	ERISA	§502(a),	at	least,	and	Plan	§8.3	predicates	where	
“…hardship….[is	defined	as]	immediate	and	heavy	financial	need	of	the	Participant…”	
generally	and	§8.3.1(g),	specifically,	where:	“.....to	the	extent	not	included	in	any	of	
the	 foregoing	 paragraphs,	 the	 need	 to	 pay	 expenses	 to	 alleviate	 the	 Participant’s	
severe	 financial	 hardship	 resulting	 from	 extraordinary	 and	 unforeseeable	
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circumstances	beyond	the	control	of	the	Participant....”,	at	least)	this	good	Plaintiff’s	
request	for	the	BAML	override	in	writing	on	28	September	2016,	28	October	2016,	
and	 finally	 on	 5	 December	 2016	 after	 Plaintiff,	 in	 recursive	 fashion,	 supplied	
voluminous	 substantiating	 data	 which	 proved	 conclusively	 his	 immediate	 and	
heavy	 financial	 need,	 the	 need	 to	 pay	 expenses	 to	 alleviate	 the	 Participant’s	 severe	
financial	 hardship	 resulting	 from	 extraordinary	 and	 unforeseeable	 circumstances	
beyond	the	control	of	the	Participant	[Plaintiff].		On	16	December	2016,	Plaintiff	and	
defendant	 Von	 Wahlde	 engaged	 in	 an	 lengthy	 (approximately	 one	 hour)	
conference	 call	 to	 seek	 mutually	 beneficial	 resolution	 to	 BAML	 override	 request	
and	request	for	compensatory	damages,	and	other	injunctive	relief,	however	Von	
Wahlde	 failed	 purposefully	 once	 again	 in	 delivering	 as	 per	 ERISA	 and	 Plan	
predicates	based	on	the	irrefutable	evidence	submitted	to	him	by	Plaintiff.	
	       Plaintiff	 then	 received	 an	 email	 from	 Von	 Wahlde	 on	 27	 December	 2017	
purportedly	from	the	Committee	with	a	“final”	[illegal]	denial	of	his	request	for	the	
BAML	 override,	 and	 Plaintiff	 communicated	 that	 he	 would	 then	 be	 reserving	 his	
rights	via	the	Filing	of	a	Federal	Complaint	(which,	in	fact,	he	did	do	on	13	March	
2017	via	the	Original	Complaint);	Garcia	and	Von	Wahlde	then	sought	to	engage	in	
Retaliatory	 Discharge	 activities	 against	 good	 Plaintiff	 –	 Prosecutor,	 which	 in	 fact	
did	occur	on	6	February	2017.	
	       On	10	April	2017	Plaintiff	received	an	email	from	Clare	Coughlin,	Recruiter,	
BAML	Wealth	Advisory,	in	response	to	an	employment	application	he	submitted	
to	become	a	Wealth	Management	Financial	Advisor	at	BAML.		He	had	to	take	and	
a	 pass	 a	 “Virtual	 Job	 Trial	 (VJT)”	evaluation	 and	 “Financial	 Information	 Aptitude	
Test	(FIAT)”	before	being	interviewed	for	the	Role.		After	passing	both	tests	he	had	
a	 “phone	 screen”	 interview	 with	 Coughlin	 on	 13	 April	 2017	 and	 after	 passing	 the	
phone	 screen	 he	 was	 required	 to	 complete	 a	 financial	 services	 industry	 pre-
registration	authorization	checklist	form	and	a	detailed,	comprehensive	“business	
plan”	 template	 for	 his	 strategies	 on	 building	 his	 own	 Wealth	 Management	
Advisory	 business	 at	 BAML.	 	 He	 was	 then	 told	 that	 his	 proposed	 place	 of	 work	


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would	 be	 a	 BAML	 office	 located	 at	 601	 Lexington	 Avenue,	 47th	 Floor,	 New	 York	
County,	 New	 York,	 10022,	 and	 that	 he	 would	 interview	 with	 the	 professionals	 at	
that	location.		He	had	in-person	interviews	at	that	location	on	25	April	2017,	3	May	
2017	 (with	 Aanal	 Shah,	 Director	 and	 Market	 Executive),	 and	 10	 May	 2017.	 	 On	 2	
June	 2017	 Plaintiff	 received	 a	 call	 from	 Shah	 to	 inform	 him	 that	 he	 was	 being	
Offered	 the	 Role	 of	 BAML	 Financial	 Advisor	 and	 Plaintiff	 accepted	 orally	 the	
position	and	then	accepted	the	written	Offer	on	8	June	2017,	with	a	start	date	of	26	
June	 2017.	 	 BAML	 then	 demanded	 and	 obtained	 significant	 MNPI	 from	 Plaintiff	
under	 the	 guise	 of	 employment	 “onboarding”,	 regarding:	 significant	 private	 and	
sensitive	details	about	prior	employers	The	Goldman	Sachs	Group,	Inc.	and	Cantor	
Fitzgerald,	 L.P.;	 about	 Ashem	 LLC,	 a	 duly	 authorized	 Delaware	 Company	 where	
Plaintiff	 is	 Managing	 Member	 and	 owns	 100%	 of	 the	 Class	 A	 Membership	 Units;	
his	 Social	 Security	 Number;	 his	 fingerprints,	 his	 Form	 I-9;	 a	 detailed	 Political	
Contributions	 Form;	 photocopy	 of	 Plaintiff’s	 United	 States	 photo	 identification	
(United	States	of	America	Passport	Card).	
	      On	23	June	2017	it	became	clear	that	BAML	defrauded	Plaintiff	and	had	no	
intention	of	ever	letting	him	begin	work	there,	and	Plaintiff	sent	an	email	to	Cindy	
Woehlert,	 Officer,	 Recruiting	 Coordinator,	 Merrill	 Lynch	 Wealth	 Management,	
Bank	of	America	Global	Talent	Acquisition	–	who	was	in	possession	of	a	significant	
portion	 of	 Plaintiff’s	 MNPI	 –	 and	 communicated	 that	 she	 should	 immediately	
destroy	any	of	Plaintiff’s	hard	copy	and	electronic	MNPI	because	of	his	judgment	
that	BAML	was	engaging	in	employment	fraud.	
	      On	26	June	2017	Coughlin	certified	that	BAML	still	planned	to	hire	him,	and	
that	BAML	needed	more	information	from	him,	including	additional	details	of	his	
personal	and	professional	experiences	and	dealings,	and	the	specifics	surrounding	
his	outstanding	$US49	Million	Default	Claim	against	New	York	University	(via	that	
certain	 lawsuit	 with	 New	 York	 County	 Index	 No.	 150622/2013).	 	 In	 good	 faith	
response,	 Plaintiff	 spent	 about	 10	 hours	 preparing	 the	 demanded	 voluminous	



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information	 that	 he	 transmitted	 to	 BAML	 on	 29	 June	 2017	 given	 Coughlin’s	 oral	
and	written	certifications	that	Plaintiff	still	had	the	formal	Offer	of	employment.	
	        On	 6	 July	 2017	 Coughlin	 called	 Plaintiff	 to	 tell	 him	 that	 the	 Offer	 of	
employment	 was	 formally	 rescinded	 once	 BAML	 had	 all	 Plaintiff’s	 MNPI,	 as	 had	
been	Plaintiff’s	suspicion	since	26	June	2017.		Shah	has	since	not	communicated	to	
Plaintiff	whatsoever	about	this	BAML	employment	fraud,	the	related	information	
extortion	and	theft	of	MNPI,	and	Plaintiff’s	embarrassment,	reputational	damage,	
emotional	 distress,	 mental	 anguish,	 and	 severe	 anxiety	 caused	 first	 by	 BAML’s	
failure	 to	 make	 the	 hardship	 withdrawal	 payment	 on	 a	 timely	 basis	 and	 then	
second	 by	 the	 employment	 fraud	 and	 information	 extortion	 perpetrated	 with	
heinous,	malicious	intent	by	BAML	over	the	four	month	period	from	April	–	July	
2017.	
	        Given	the	long	standing,	buffet	table	of	wrongs	committed	by	BAML	against	
good	 Plaintiff	 during	 the	 period	 June	 2016	 –	 Present,	 he	 has	 Named	 Terrance	 P.	
Laughlin,	Vice	Chairman,	Head	of	Global	Wealth	and		 Investment	 Management,	
Bank	of	America	Corporation	as	Defendant:	in	this	Case,	the	liability	goes	all	the	
way	to	the	top	at	BAML.	
	
7.	      PURPOSEFUL	 VIOLATIONS	 OF	 45	 CFR	 §164.530(C),	 HIPAA	 §104-191	
	        AND	 §1177	 BY	 MACY’S,	 INC.,	 BLOOMINGDALE’S,	 INC.	 AND	 CIGNA	
	        CORPORATION	
	
	        In	 the	 morning	 of	 24	 January	 2017	 good	 Plaintiff	 -	 Prosecutor	 visited	 a	
health	care	provider	for	a	diagnostic	exam	which	resulted	in	the	dissemination	of	a	
very	 grave,	 tragic	 diagnosis	 [details	 omitted	 for	 Plaintiff’s	 privacy]	 which	 caused	
him	 severe	 emotional	 distress,	 anxiety,	 and	 inner	 turmoil.	 	 Regardless,	 he	 went	
into	work	that	afternoon	at	Bloomingdale’s	Flagship	Store	on	Floor	7,	1000	Third	
Avenue,	New	York	County,	New	York,	10022.		Early	in	his	shift	Defendant	Spring’s	
administrative	 assistant,	 with	 whom	 Plaintiff	 had	 had	 casual	 conversations	
previously	on	Floor	7,	approached	him	by	the	Hudson	Park	(Bloomingdale’s,	Inc.	
proprietary	 line)	 luxury	 linens	 department;	 whilst	 he	 can	 identify	 this	
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administrative	 assistant	 personally	 by	 visage,	 he	 had	 never	 known	 her	 by	 name.		
(Defendant	 Bloomingdale’s,	 Inc.’s	 executive	 offices	 [where	 defendant	 Spring	 is	
situated]	are	as	also	on	Floor	7,	and	all	senior	executives	must	traverse	the	salesfloor	
in	Luxury	Home	in	order	to	get	to	their	respective	places	of	work.		Plaintiff	cited	all	
such	 senior	 executives	 often	 in	 the	 course	 of	 his	 work	 assignments	 on	 Floor	 7	
throughout	his	workday).			
	      During	 this	 particular	 conversation,	 Spring’s	 administrative	 assistant	 told	
him	that	defendant	CIGNA	Corporation	had	that	very	day	communicated	illegally	
to	 Spring,	 verbatim,	 the	 diagnosis	 that	 the	 medical	 provider	 had	 provided	 to	
Plaintiff	 earlier	 that	 day,	 and	 intimated	 that	 Plaintiff	 would	 face	 adverse	 work	
action	 because	 of	 this	 unlawful	 transfer	 of	 information	 to	 defendant	
Bloomingdale’s,	Inc.	leadership.	
	      Plaintiff	immediately	Filed	a	formal	Complaint	against	CIGNA	Corporation	
with	United	States	Department	of	Health	&	Human	Services	Office	for	Civil	Rights	
(“HSS-OCR”)	and	received	notification	(OCR	Transaction	No.	CU-17-261183)	from	
HSS-OCR	dated	22	February	2017	that,	in	fact,	CIGNA	Corporation	violated	45	CFR	
§164.530(c),	at	least;	Plaintiff	then	experienced	Retaliatory	Discharge	from	Macy’s,	
Inc.	on	6	February	2017,	which	was	communicated	to	him	by	CIGNA	Corporation	
when,	 at	 another	 medical	 provider,	 he	 was	 told	 that	 his	 Macy’s,	 Inc.	 CIGNA	
Medical	Coverage	had	been	terminated.	
	      Whilst	 good	 Plaintiff	 –	 Prosecutor	 is	 aware	 that	 it	 is	 “doubtful”	 that	 no	
private	cause	of	action	can	be	asserted	under	HIPAA	[§104-191	and	§1177,	at	least],	
to	the	greatest	extent	possible	he	wishes	to	assert,	on	behalf	of	the	People	of	these	
great	United	States	of	America,	whatever	public	causes	of	action	are	available	to	be	
asserted;	he	awaits	instruction	from	Court	as	to	the	practicalities	surrounding	the	
assertion	 of	 such	 public	 claims;	 any	 such	 monies	 obtained	 from	 the	 wrongdoers	
under	the	assertion	of	such	public	claims	would	be	collected	on	behalf	of	United	
States	Department	of	the	Treasury.		Plaintiff	is	not	aware	of	any	prohibition	on	a	



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private	 person	 or	 entity	 on	 asserting	 a	 such	 a	 public	 claim	 for	 the	 benefit	 of	 the	
United	States	of	America.	
	
8.	     ILLEGAL	 EMPLOYMENT	 SEPARATION/RETALIATORY	 DISCHARGE	
	       FROM	MACY’S,	INC.	AND	BLOOMINGDALE’S,	INC.		
	
	       On	25	January	2017	Plaintiff	was	literally	forced	off	the	salesfloor	on	Floor	7	
at	1000	Third	Avenue,	New	York	County,	New	York,	10022	in	the	middle	of	a	“big-
ticket”	(roughly	$US5,000)	client	transaction	in	Matouk	product,	requiring	him	to	
leave	the	client’s	products	and	her	MNPI	on	the	POS	station	–	in	stark	violation	of	
Company	policies	and	procedures	and	relevant	Federal	and	State	laws	–	by	Wright.		
During	 a	 “meeting”	 with	 Wright,	 witnessed	 by	 Mr.	 Jack	 Rojas	 of	 Local	 Three	
Union,	 on	 Floor	 3,	 she	 ranted	 and	 raved	 endlessly	 and	 unstably	 for	 about	 fifteen	
minutes,	 in	 a	 highly	 unintelligible,	 troubling,	 and	 disturbing	 fashion,	 where	 the	
only	logical	conclusion	Plaintiff	could	glean	from	her	was	that	the	sales	force	was	
being	downsized,	his	1,000	or	so	hard-earned	client	accounts	might	be	taken	from	
him	 and	 redistributed	 to	 other	 salespeople,	 that	 Schiller	 had	 thrown	 Pressner	
under	the	bus,	and	that	Wright	was	telling	Plaintiff	to	leave	work	and	“go	home”	
for	 the	 foreseeable	 future	 (again,	 without	 just	 cause	 or	 within	 any	 guidelines	
formally	established	 by	Macy’s,	Inc.).		On	27	 January	2017	he	 met	 in	 person	 once	
again	with	Wright	where	she	once	again	ranted	and	raved	endlessly	and	unstably	
for	 about	 fifteen	 minutes,	 in	 a	 highly	 unintelligible,	 troubling,	 and	 disturbing	
fashion.	 	 On	 neither	 occasion	 did	 Wright	 follow	 any	 proper	 protocol	 concerning	
any	 formal	 legal	 employment	 separation	 proceedings.	 	 Whilst	 out	 of	 the	 office	
during	this	week	and	the	next	he	sought	emergency	medical	treatment	for	a	host	
of	physical	illnesses	and	injuries,	which	included	three	(3)	visits	to	local	Emergency	
Rooms	for	urgent	medical	treatment.	
	       It	is	established	formal	written	Macy’s,	Inc.	and	Bloomingdale’s,	Inc.	policy	
called	“Responsibility	–	Based	Performance”	as	per	the	Bloomingdale’s,	Inc.	“Staff	
Associate	 Handbook”	 (Page	 41)	 that	 “…..each	 associate…will	 receive	 a	 first	 formal	


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written	 reminder	 that	 their	 performance	 is	 not	 to	 Bloomingdale’s	 standard….will	
[then]	result	in	a	second	formal	written	reminder….	and	if	performance	is	not	rated	
at	least	average	30	days	after	the	second	formal	written	reminder,	the	associate	will	
be	 given	 a	 decision	 making	 leave…..which	 consists	 of	 one	 work	 shift	 off	 with	 pay,	
during	which	time	the	associate	will	either	decide	to	commit	to	company	standards	
or	resign	from	Bloomingdale’s….if	the	associate	commits	to	standards	he/she	will	be	
given	another	30	days	to	improve….if	this	standard	is	not	met	at	the	end	of	30	days,	
[ONLY	THEN]	employment	will	be	terminated……”	
	       	In	 addition,	 Page	 59	 of	 the	 “Local	 3	 Union	 Contract	 Guidelines”	 states	
clearly	that	“…..written	incident	report	forms	shall	contain	a	statement	advising	the	
subject	 of	 the	 Report	 that	 he	 or	 she	 is	 entitled	 to	 read	 the	 Report….each	 employee	
who	 is	 disciplined	 by	 reason	 of	 a	 written	 incident	 report	 shall	 be	 permitted	 to	 read	
the	report	and	to	attach	thereto	a	response	signed	by	the	employee….in	each	instance	
when	 the	 Employer	 sends	 written	 notice	 to	 the	 Union	 that	 an	 employee	 has	 been	
placed	on	warning	or	otherwise	disciplined,	the	employee	shall	be	handed	a	copy	of	
the	notice	when	the	employee	reports	to	the	Personnel	Office	when	requested	to	do	
so….”		Plaintiff	hereby	certifies	that	he	never	received	any	of	the	required	written	
documentation	 under	 the	 Staff	 Associate	 Handbook	 and/or	 Local	 3	 Union	
Contract	 Guidelines;	 as	 such	 Court	 can	 only	 conclude	 that	 based	 upon	 Federal,	
State,	 and	 local	 laws,	 and	 Macy’s,	 Inc.’s	 own	 formal	 written	 policies	 and	
procedures,	 he	 was	 never	 legally	 or	 justly	 separated:	 Wright	 purposefully	 failed	
herself	 to	 behave	 within	 clearly	 -	 established	 Bloomingdale’s,	 Inc.	 policy	 and	
procedures	 and	 Local	 3	 Union	 requirements	 regarding	 a	 written	 documentary	
record	 of	 any	 and	 all	 performance	 counseling	 and	 disciplinary	 sessions,	 and	 she	
did	not	clearly	and	adequately	in	writing	communicate	with	Plaintiff	at	all	that	he	
was	being	formally	and	illicitly	separated	from	employment	with	Bloomingdale’s,	
Inc.	
	       As	 an	 aside,	 Plaintiff	 had	 requested	 short	 –	 term	 disability	 /	 FLMA	 leave	
during	 the	 week	 of	 23	 January	 2017	 given	 a	 variety	 of	 serious,	 severe	 medical	


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conditions	which	caused	him	significant	physical	and	non-physical	pain,	suffering,	
and	 discomfort,	 including	 the	 visit	 on	 24	 January	 2017	 that	 CIGNA	 Corporation	
reported	illegally	to	Spring.		Plaintiff	also	Filed	a	Workers	Compensation	Claim	on	
25	 January	 2017	 with	 Macy’s,	 Inc.	 as	 self-insured.	 	 Goodell	 was	 assigned	 to	 the	
Claim.		On	9	February	2017	Plaintiff	wrote	to	Goodell	in	an	email	“Please	note	that	
my	Case	[Worker’s	Compensation	Claim]	is	made	more	complicated	as	either	my	
health	 care	 providers	 or	 CIGNA,	 our	 Carrier,	 illegally	 released	 my	 private	
information	to	Bloomingdale's	local	management	in	violation	of	HIPAA,	and	as	a	
result,	 I	 was	 illegally	 separated	 from	 Macy's,	 Inc.	 whilst	 getting	 medical	
diagnoses/treatments.	 	 Of	 course,	 this	 unlawful,	 unfair,	 and	 unconscionable	
discharge	 is	 causing	 me	 additional	 and	 wholly	 unnecessary	 severe	 emotional	
distress,	mental	anguish,	and	anxiety”.	
	      On	29	January	2017,	Plaintiff	sent	defendant	Garcia	via	email	a	private,	good	
faith,	 mutually	 beneficial,	 reasonable	 Offer	 of	 Settlement	 of	 any	 and	 all	 past	 and	
present	litigation	Claims	against	the	Macy’s,	Inc./Bloomingdale’s,	Inc.	defendants	
and	on	that	same	day,	Garcia	responded	“…..we	will	not	be	discussing	settlement	
Mr.	 Mitchell.	 	Please	 direct	 any	 correspondence	 to	 Mr.	 Fernandez	 (copied).		
Thanks,	Elisa…”;	as	Macy’s,	Inc.’s	Chief	Legal	Officer,	its	most	senior	lawyer,	Garcia	
is	 charged	 with	 mitigating	 any	 and	 all	 Macy’s,	 Inc.	 legal	 risks	 and	 must	 also,	 of	
course,	 not	 engage	 in	 frivolous	 behaviour	 as	 defined	 in	 Rule	 3.1	 of	 the	 New	 York	
State	 Unified	 Court	 System	 Part	 1200	 Rules	 of	 Professional	 Conduct	 where	 “a	
lawyer’s	conduct	is	frivolous	for	purposes	of	this	Rule	if	the:		
    1. lawyer	 knowingly	 advances	 a	 defense	 that	 is	 unwarranted	 under	 existing	
       law;			
    2. conduct	 has	 no	 reasonable	 purpose	 other	 than	 to	 delay	 or	 prolong	 the	
       resolution	of	litigation,	in	violation	of	Rule	3.2	(“in	representing	a	client,	a	
       lawyer	shall	not	use	means	that	have	no	substantial	purpose	other	than	to	
       delay	 or	 prolong	 the	 proceeding	 or	 to	 cause	 needless	 expense”)	 or	 serves	
       merely	to	harass	or	maliciously	injure	another;	or			


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     3. lawyer	knowingly	asserts	material	factual	statements	that	are	false.”		
		      Garcia’s	uncivil	position	–	her	stark	refusal	to	engage	in	conclusive	mutually	
beneficial	dealmaking	with	good	Plaintiff	–	Prosecutor	which	would	have	avoided	
completely	 this	 Federal	 Prosecution	 –	 proves	 she	 is	 guilty	 at	 least	 of	 purposeful	
violations	 of	 Part	 1200	 Rules	 as	 are	 her	 colleagues	 and	 fellow	 defendants	 Von	
Wahlde,	Fernandez,	and	De	Palma.		Plaintiff	asks,	“are	 attorneys	 at	 Law	 admitted	
to	the	Bar	in	these	great	 United	States	of	America	trained	in	the	least	at	legal	risk	
minimization,	 negotiations,	 and	 dealmaking?”	 	 As	 is	 clear	 from	 this	 Amended	
Complaint,	these	lawyer-defendants	are	entirely	unskilled	in	these	areas,	at	least,	
and	at	most,	incompetent;	their	inactions	not	only	damage	Plaintiff	but	also	their	
own	employer	Macy’s,	Inc.	
	       On	 13	 February	 2017	 he	 had	 a	 conference	 call	 with	 defendant	 Goodell	 to	
discuss	 the	 Workers	 Compensation	 Claim.	 	 During	 this	 call,	 Goodell	 stated	 that	
she	was	working	out	of	her	home,	which	caused	Plaintiff	great	concern	as	she	had	
Plaintiff’s	private,	material,	non-public,	and	personally	identifiable	information	in	
her	 own	 private	 residence.	 	 She	 also	 demanded	 substantial	 information	 from	
Plaintiff	 that	 was	 completely	 irrelevant	 to	 the	 handling	 of	 the	 Workers	
Compensation	 Claim,	 including	 his	 Social	 Security	 number	 and	 details	 of	 prior	
employment	history,	over	the	phone	from	her	personal	residence.		After	detailing	
his	specific,	severe	emergency	conditions,	his	substantiated	on	the	job	injuries	and	
illnesses,	 Goodell	 stated	 that	 she	 was	 going	 to	 disapprove	 the	 Claim	 as	 Plaintiff	
sounded	“like	a	disgruntled	employee”	and	then,	in	the	same	sentence,	said	“don’t	
threaten	 me”	 and	 “thank	 you”	 and	 then	 hung	 up	 the	 phone	 on	 Plaintiff	 without	
allowing	 him	 to	 respond	 to	 her	 outrageously	 fallacious	 statements.	 	 Plaintiff	
immediately	 documented	 the	 details	 of	 Goodell’s	 wrongdoing	 (including	 the	
commission	of	defamation	per	se)	to	defendant	Fernandez,	via	email.	
	       On	 14	 February	 2017,	 Plaintiff	 received	 written	 notice	 from	 Local	 3	 Union	
Secretary	 –	 Treasurer	 Shaun	 Kavanagh	 that	 Local	 3	 Union,	 after	 reviewing	 his	
Bloomingdale’s,	 Inc.	 employment	 file,	 supported	 his	 Position	 that	 defendants	


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Macy’s,	Inc.,	Bloomingdale’s,	Inc.	and	Wright,	at	least,	acted	unlawfully	regarding	
his	retaliatory	discharge/illegal	employment	separation,	and	had	scheduled	an	in-
person	 “grievance	 meeting”	 on	 Floor	 10,	 1000	 Third	 Avenue,	 New	 York	 County,	
New	York,	10022.		On	28	February	2017	Plaintiff	called	Local	3	to	tell	Mr.	Kavanagh	
that	he	would	not	be	physically	present	at	this	“grievance	meeting”	the	next	day	as	
he	 was	 concerned	 for	 his	 safety	 and	 security	 should	 he	 return	 to	 those	 premises,	
after	being	subject	to	the	buffet	of	civil	and	criminal	wrongs	at	1000	Third	Avenue,	
New	York	County,	New	York,	10022.		Regardless,	once	the	EEOC	Charge	was	Filed	
against	 Local	 3	 Union,	 the	 Union	 lost	 any	 and	 all	 standing	 regarding	 formal	
representation	 of	 Plaintiff	 and	 therefore	 could	 not	 act	 on	 his	 behalf	 after	 29	
November	2016.	
	       Plaintiff	has	not	received	any	communication	whatsoever	from	Local	3	since	
the	call	on	28	February	2017,	and	doesn’t	even	know	if	the	1	March	2017	grievance	
meeting	was	held	without	him	or	not.	
	
9.	     RETALIATORY	 DISCHARGE,	 BREACH	 OF	 CONTRACT,	 AND	 FRAUD	
	       (18	 U.S.	 CODE	 §1341–FRAUDS	 &	 SWINDLES):	 MACY’S,	 INC.,	
	       BLOOMINGDALE’S,	INC.,	AMERICAN	ARBITRATION	ASSOCIATION	
	
	       As	attested	to,	good	Plaintiff	–	Prosecutor	received	formal	notification	of	his	
illegal	 employment	 separation	 on	 6	 February	 2017	 when	 he	 sought	 ongoing	
emergency	 medical	 treatment	 at	 NYU	 Langone	 Centre	 for	 Men’s	 Health	 (“NYU	
Men’s”)	at	555	Fifth	Avenue	–	Floor	2,	New	York	County,	New	York,	100022.		Upon	
his	 arrival	 at	 NYU	 Men’s	 he	 checked	 in	 at	 the	 front	 desk	 and	 was	 told	 that	 his	
Macy’s,	Inc.	CIGNA	Corporation	health	insurance	had	been	cancelled.		Astonished,	
he	 called	 CIGNA	 and	 was	 told	 over	 the	 phone	 that,	 in	 fact,	 his	 employment	 had	
been	 severed	 and	 his	 CIGNA	 insurance	 cancelled	 [illicitly].	 	 He	 asked	 for,	 and	
received,	written	proof	of	insurance	discontinuance	from	CIGNA	that	day.	
	       Plaintiff	 first	 contacted	 defendant	 Garcia	 on	 22	 November	 2016	 via	
voicemail	and	email	given	defendant	Von	Wahlde’s	purposeful	failure	to	complete	
the	 BAML	 override	 which	 continued	 to	 aggrieve	 him	 to	 a	 very	 significant	 and	
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tangible	extent	(on	top	of	the	20	June	2017	eviction	event)	and	had	asked	for	her	
assistance	 in	 completing	 the	 BAML	 override	 given	 the	 severity	 of	 the	 matter.		
Plaintiff	 pleaded	 with	 Garcia	 via	 email	 again	 on	 8	 January,	 13	 January,	 and	 27	
January	 2017	 for	 such	 emergency	 intervention.	 	 Without	 working	 to	 resolve	 the	
matter	 herself,	 much	 to	 the	 tangible	 detriment	 of	 Plaintiff,	 Macy’s,	 Inc.,	 and	
Bloomingdale’s,	 Inc.,	 she	 assigned	 defendant	 Fernandez	 to	 handle	 the	 matter;	
defendant	 Fernandez	 also	 failed	 to	 facilitate	 the	 BAML	 override,	 much	 to	 the	
tangible	 detriment	 of	 Plaintiff,	 Macy’s,	 Inc.,	 and	 Bloomingdale’s,	 Inc;	 any	
reasonable	 person	 with	 common	 sense	 can	 only	 conclude	 that	 the	 Plaintiff’s	
assertion	 of	 his	 rights	 under	 ERISA	 and	 the	 Plan	 was	 one	 of	 the	 reasons	 why	 he	
experienced	retaliatory	discharge.	
	      Defendant	 Macy’s,	 Inc.	 maintains	 a	 formal	 dispute	 resolution	 mechanism	
for	employees	known	as	“Solutions	InSTORE	–	Early	Dispute	Resolution”	which	is	
governed	 by	 the	 Solutions	 InSTORE	 Early	 Resolution	 Plain	 Document	 Early	
Dispute	 Resolution	 Rules	 and	 Procedures	 (dated	 1	 June	 2014)	 (“Solutions	 Plan”).		
The	 Solutions	 Plans	 contains	 four	 formal	 steps	 to	 employment-related	 dispute	
resolution:	
    1. STEP	ONE:	“Open	door”	informal	discussions	with	supervisor	and/or	local	
       management;	if	employee	receives	unsatisfactory	or	no	response	he	moves	
       to	STEP	TWO;	
    2. STEP	 TWO:	 Employee	 submits	 written	 complaint	 to	 his	 division’s	 local	
       senior	 Human	 Resources	 manager	 (in	 this	 case,	 defendant	 Ronquillo)	 for	
       investigation,	 action,	 and	 response;	 if	 employee	 receives	 unsatisfactory	 or	
       no	response	he	moves	to	STEP	THREE;	
    3. STEP	 THREE:	 “Request	 for	 Reconsideration”	 which	 is	 formal	 contact	 with	
       the	 “Office	 of	 Solutions	 InStore”	 formally	 either	 by	 phone	 or	 email	 where	
       the	employee	will	have	a	review	by	a	peer	panel	or	a	review	by	the	Office	of	
       Solutions	 InSTORE	 (housed	 in	 Macy’s,	 Inc.’s	 Employee	 Relations	



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       Department,	 Human	 Resources,	 in	 Cincinnati,	 Ohio);	 if	 employee	 receives	
       unsatisfactory	or	no	response	he	moves	to	STEP	FOUR;	
    4. STEP	 FOUR:	 Formal	 Arbitration	 proceedings	 via	 American	 Arbitration	
       Association	 for	 “…All	 Employees	 hired	 by	 Macy’s	 with	 a	 first	 day	 of	
       employment	 on	 or	 after	 June	 1,	 2014,	 where	 “Macy’s”	 means	 any	 division	 or	
       subsidiary	 or	 operating	 unit	 or	 entity	 related	 to	 Macy’s,	 Inc…..where	 all	
       Employees	 are	 automatically	 covered	 by	 all	 4	 STEPS	 of	 the	 Program…”	
       (Solutions	Plan,	page	4).	
	      On	27	January	2017	Plaintiff	initiated	orally	and	via	email	a	STEP	3	request	
with	 Office	 of	 Solutions	 InStore	 for	 his	 various	 meritorious	 employment-related	
Claims,	 and	 on	 7	 February	 2017	 he	 received	 the	 following	 email	 response:	 “…..HI	
Seth,	Thank	you	for	reaching	out	to	Solutions	InSTORE.	We	received	your	email	and	
respectfully	direct	you	to	your	Union	Representative	at	your	location	for	any	further	
assistance.	 Due	 to	 the	 “Collective	 Bargaining	 Agreement”,	 Solutions	 InSTORE	 is	
unable	to	offer	our	program.		Thank	you	again,	Cathie,	Solutions	InSTORE….”	
	      Plaintiff	 believed	 this	 message	 from	 “Cathie”	 to	 be	 erroneous	 and	 illegal,	
especially	 in	 light	 of	 the	 clear	 and	 irrefutable	 Solutions	 Plan	 page	 4	 predicates,	
where	such	a	message	was	designed	solely	to	delay,	prevent,	obfuscate	truth,	and	
frustrate	 Plaintiff’s	 pursuit	 of	 the	 resolution	 to	 his	 outstanding	 employment-
related	 Claims;	 on	 29	 January	 2017	 Plaintiff	 sent	 via	 email	 a	 Letter	 to	 defendant	
Fernandez	 formally	 requesting	 both:	 1)	 the	 current	 verbatim	 Local	 3	 Union	
Contract	and	this	purported	“Collective	Bargaining	Agreement”	–	neither	of	which	
had	 ever	 been	 provided	 to	 him	 despite	 his	 many	 oral	 and	 written	 requests	 to	
Macy’s,	Inc.	and	Local	3	Union	employees;	any	reasonable	and	rational	person	can	
only	 conclude	 that	 the	 Local	 3	 Union	 Contract	 and	 Collective	 Bargaining	
Agreement	simply	do	not	exist	at	all,	and	the	defendants	in	this	matter	are	simply	
guilty	 of	 fraud	 regarding	 such	 fabricated	 contracts	 which	 fallaciously	 entrap	
employees	and	hinder	their	rights	to	pursue	valid	employment-related	Claims.	



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	       On	 21	 February	 2017	 via	 email	 at	 EmploymentFiling@adr.org	 Plaintiff	
initiated	 STEP	 4	 proceedings	 as	 per	 his	 rights	 and	 the	 clear,	 specific	 contractual	
provisions	 of	 the	 Solutions	 Plan	 (Article	 5	 –	 Time	 Limit	 to	 Initiate	 Arbitration	
“….an	employee	is	not	required	to	participate	in	STEPS	1	through	3	before	initiating	
Arbitration…..”	 (Page	 7);	 he	 Filed	 a	 $US30	 Million	 Demand	 for	 Arbitration	 with	
defendant	 Lesser’s	 team	 at	 defendant	 American	 Arbitration	 Association	 (“AAA”)	
under	 Case	 No.	 01-17-0001-0985	 for	 a	 variety	 of	 meritorious	 causes	 of	 action,	 and	
provided	 the	 contractual	 terms	 which	 allow	 for	 the	 Arbitration	 of	 Claims,	 as	
outlined	 in	 this	 Amended	 Complaint.	 	 Macy’s,	 Inc.	 filed	 absolutely	 no	 valid	
objections	 to	 the	 jurisdiction	 of	 this	 forum	 as	 of	 5	 March	 2017,	 at	 which	 time,	 as	
per	AAA	Rules,	the	AAA	Panel	must	have	ruled	on	matters	related	to	jurisdiction.	
	       On	 26	 February	 2017,	 Plaintiff	 requested	 formally	 a	 Hardship-based	 Fee	
waiver	of	AAA	costs,	and	AAA	demanded	of	him:	Notarized	Affidavit	of	Hardship,	
Federal	 Income	 Tax	 Returns	 (including	 schedules)	 from	 the	 past	 two	 years,	 and	
Itemized	 bank	 statements	 from	 the	 past	 three	 months;	 he	 had	 no	 choice	 but	 to	
comply	 in	 good	 faith	 with	 these	 very	 onerous	 information	 demands	 given	 the	
financial	 distress	 he	 experienced	 as	 a	 direct	 result	 of	 the	 defendants’	 purposeful	
wrongdoing.	
	       On	3	March	2017	defendant	Fernandez	writes	to	AAA	and	Plaintiff	via	email:	
“…..Bloomingdale’s/Macy’s	 object	 to	 the	 request	 of	 an	 Emergency	 Arbitrator	 being	
appointed	 as	 Mr.	 Mitchell	 is	 not	 subject	 to	 AAA	 through	 his	 employment	 at	
Bloomingdale’s	 and	 therefore	 the	 AAA	 does	 not	 have	 authority	 to	 hear	 this	
matter.		As	informed	numerous	times,	Mr.	Mitchell’s	recourse	is	through	Local	3	and	
the	 processes	 and	 procedures	 agreed	 to	 by	 Local	 3	 and	 Bloomingdale’s	 in	 resolving	
work	 related	 issues.	 	 Respectfully,	 Santiago	 A.	 Fernandez,	 Senior	 Counsel,	 Macy’s,	
Inc…..”	
	       Outrageously,	 in	 violation	 of	 clear	 AAA	 and	 Solutions	 Plan	 Rules	 –	 and	
before	the	AAA	Panel	was	even	assigned	–	AAA	Employment	Filing	Team	(located	
at	 1101	 Laurel	 Oak	 Road,	 Suite	 100	 Voorhees,	 NJ	 08043)	 sent	 via	 email	 a	 Letter	


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dated	7	March	2017	stating		“………it	appears	Mr.	Mitchell	was	a	member	of	the	union	
and	 as	 such	 the	 AAA	 lacks	 the	 authority	 to	 arbitrate	 this	 dispute	 under	 the	
Employment	 Arbitration	 Rules.	 	 Accordingly,	 we	 have	 administratively	 closed	 our	
file.	There	will	be	no	reconsideration	of	this	decision	at	this	time…..”		(Plaintiff	would	
have	 requested	 of	 the	 Emergency	 Arbitrator	 Discovery	 from	 Macy’s,	 Inc.	 in	 the	
form	of	the	Local	3	Union	Contract	and	Collective	Bargaining	Agreement,	at	least;	
he	Filed	for	Emergency	Measures	of	Protection	as	per	AAA	Rules	on	2	March	2017.)	
	
	      As	stated	previously,	when	the	EEOC	Charge	was	Filed	against	Local	3	Union	
on	 9	 December	 2016,	 Local	 3	 Union	 lost	 any	 and	 all	 standing	 in	 relation	 to	
Plaintiff’s	formal	representation	with	Macy’s,	Inc;	on	this	day,	Plaintiff	became	
“self-represented”	 in	 any	 and	 all	 employment	 matters	 concerning	 Macy’s,	 Inc.	 	 In	
addition,	 as	 per	 Solutions	 Plan,	 Article	 2	 (page	 5)	 “…if	 there	 are	 any	 differences	
between	the	Solutions	InSTORE	Early	Dispute	Resolution	Rules	and	Procedures	and	
the	employment	arbitration	portion	of	the	AAA’s	Employment	Arbitration	Rules	and	
Mediation	 Procedures,	 the	 Solutions	 InSTORE	 Early	 Dispute	 Resolution	 Rules	 and	
Procedures	shall	apply……”	
	      Between	 19	 February	 and	 24	 February	 2017,	 Plaintiff	 made	 several	 written	
email	 requests	 of	 defendant	 Moses	 (a	 Local	 3	 Union	 “Executive	 Board	 Member”	
and	 towels	 department	 Sales	 Associate)	 for	 both	 the	 Local	 3	 Union	 Contract	 and	
Collective	 Bargaining	 Agreement;	 Moses	 failed	 to	 provide	 either	 such	 purported	
“contract”.	 	 During	 the	 week	 of	 20	 February	 2017,	 Plaintiff	 had	 a	 phone	
conversation	 with	 Mr.	 Shaun	 Kavanagh,	 Secretary-Treasurer	 (Mr.	 Kavanagh	 not	
able	to	be	contacted	via	email)	during	which	he	requested	orally	both	the	Local	3	
Union	 Contract	 and	 the	 Collective	 Bargaining	 Agreement	 and	 Mr.	 Kavanagh	
refused	 Plaintiff’s	 request	 for	 both	 formal	 documents.	 	 These	 multiple	 bad	 faith	
Local	 3	 denials,	 combined	 with	 those	 of	 Macy’s,	 Inc.’s	 Garcia,	 Fernandez,	 and	
“Cathie”	of	Solutions	InSTORE,	are	emblematic	of	the	breach	of	contract	and	fraud	
that	has	run	rampant	at	Macy’s,	Inc.		


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	       Given	the	size	of	the	AAA	Demand	($US30	Million)	on	Macy’s,	Inc.,	Plaintiff	
made	 several	 good	 faith	 overtures	 aimed	 at	 conflict	 resolution	 directly	 with	
defendant	Hoguet	(Macy’s,	Inc.’s	Chief	Financial	Officer)	via	email	on	5,	7,	13,	and	
15	March	2017;	all	such	formal	requests	went	unanswered.		Not	only	did	Hoguet’s	
failure	to	respond	further	aggrieve	good	Plaintiff	–	Prosecutor,	she	acted	contrary	
to	the	best	interests	of	her	own	employer	–	Macy’s,	Inc.;	by	not	engaging	in	good	
faith	 privately	 and	 civilly	 with	 him,	 she	 has	 greatly	 increased	 substantially	 the	
financial	and	legal	risks	to	Macy’s,	Inc.	unnecessarily	and	with	incompetence.	
	       Given	 that,	 wrongly,	 defendants	 AAA,	 Lesser,	 and	 Santo	 sided	 with	
defendant	Fernandez’s	fallacious	and	illegal	argument	disputing	AAA’s	jurisdiction	
of	 Plaintiff’s	 Claims	 –	 in	 direct	 contravention	 of	 AAA	 Rules	 and	 the	 superseding	
rules	 of	 the	 Solutions	 Plan,	 the	 only	 conclusion	 a	 reasonable	 and	 rational	 person	
can	 reach	 is	 that	 the	 defendants	 have	 fully	 and	 irrefutably	 waived	 their	 rights	 to	
such	 Arbitration	 via	 AAA	 and,	 as	 follows,	 the	 matter	 is	 completely	 within	 the	
jurisdiction	 of	 the	 Southern	 District	 of	 New	 York,	 where	 this	 good	 Plaintiff	 –	
Prosecutor	 Filed	 his	 Original	 Complaint	 in	 good	 faith	 on	 13	 March	 2017	 at	 15:57	
EST.	
	       On	 18	 April	 2017,	 Plaintiff	 received	 an	 email	 stating	 “…..Good	 morning	 Mr.	
Mitchell,	I	am	in-house	counsel	for	Macy’s	and	Bloomingdale’s	and	will	be	handling	
this	matter	from	here	on	out	with	my	colleague,	Matt	Hendricks.		I	would	ask	that	
you	please	cease	all	communications	with	[defendant]	Mr.	Fernandez	and	the	Office	
of	 Solutions	 InSTORE,	 and	 instead	 please	 direct	 any	 future	 communications	 to	 my	
attention.		 Thank	 you.	 	 Aahren.	 	 Aahren	 Rodriguez	 DePalma,	 Counsel,	 Law	
Department,	 Macy's,	 Inc…..”	 	 On	 14	 May	 2017	 Plaintiff	 sent	 a	 formal	 Offer	 of	
Settlement	to	defendant	DePalma	(who	eventually	stated	via	email	on	19	May	2017	
that	she	“….is	the	only	individual	with	authority	to	discuss	any	aspect	of	this	claim	
with	[Plaintiff]….”)	with	a	deadline	for	response	of	16	May	2017;	DePalma	failed	to	
present	the	Offer	of	Settlement	to	the	defendants	and	actually	failed	to	respond	at	
all	 to	 the	 Plaintiff.	 	 She,	 like	 Hoguet,	 Garcia,	 Fernandez,	 Von	 Wahlde,	 etc.	 acted	


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contrary	to	the	best	interests	of	her	own	employer	–	Macy’s,	Inc.;	by	not	engaging	
in	good	faith	privately	and	civilly	with	him,	she	has	greatly	increased	substantially	
the	 financial	 and	 legal	 risks	 to	 Macy’s,	 Inc.	 unnecessarily	 and	 with	 incompetence	
as	an	in-house	lawyer	to	Macy’s,	Inc.	
	
III.	     INJURIES	SUSTAINED	

	         As	 proven	 factually	 in	 the	 Original	 and	 now	 this	 good	 faith	 Amended	
Complaint,	Plaintiff	has	been	indelibly,	irreparably,	and	purposefully	harmed	and	
damaged	by	the	named	and	doe	defendants:	physically,	non-physically,	financially,	
and	 reputationally	 –	 both	 personally	 and	 professionally,	 where	 such	 severe	
financial	and	emotional	distress,	intense	mental	anguish,	extreme	anxiety,	at	least,	
continue	 unabated	 to	 this	 day.	 	 Since	 6	 February	 2017,	 the	 day	 of	 his	 illegal	
employment	 separation	 from	 Macy’s,	 Inc.,	 he	 has	 been	 unemployed	 with	 no	
income;	whilst	he	has	applied	for,	and	continues	to	apply	for,	many	roles,	primarily	
in	financial	services,	he	has	not	received	any	offers	of	gainful	employment,	except	
for	8	June	2017	BAML	Offer	which	as	been	shown	to	have	been	fraudulent.	


IV.	      CREDIT	QUALITY	OF	DEFENDANTS	&	RELIEF	REQUESTED		

	         In	 layman’s	 terms,	 credit	 quality	 is	 defined	 as	 “a	 debtor’s	 ability	 and	
willingness	to	repay	debts”.		In	the	adjudication	of	any	litigation	claims,	Court	must	
take	into	consideration	the	credit	quality	of	the	defendants	when	money	damages	
are	demanded	to	ensure	that	the	Plaintiff’s	efforts	are	not	frivolous	and	the	Court’s	
time	not	wasted.		In	this	Case,	Plaintiff	concludes	that	Macy’s,	Inc.	is	this	Matter’s	
foundational	defendant	given	it	is	the	irrefutable	epicenter	of	the	virulent	strain	of	
illegality	that	has	caused	Plaintiff	so	much	purposeful	damage	since	2	March	2015	
to	the	Present;	as	of	29	April	2017	Macy’s,	Inc.	maintains	$US1.2	Billion	in	cash	and	
equivalents	on	its	balance	sheet	(source:	Macy’s,	Inc.	Form	10Q,	Quarter	ending	29	
April	2017).		As	such,	Court	gains	great	comfort	that	whilst	clearly	the	defendants	
en	 masse	 are	 unwilling	 to	 pay	 good	 Plaintiff	 –	 Prosecutor	 the	 reasonable	 sums	


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owed	 to	 him,	 Macy’s,	 Inc.	 –	 as	 the	 foundational	 defendant	 –	 has	 the	 clear,	 full	
ability	 to	 pay	 Plaintiff’s	 compensatory	 and	 punitive	 damages	 in	 full,	 both	 for	 his	
private	 claims	 and	 the	 claims	 he	 asserts	 on	 behalf	 of	 the	 People	 of	 these	 great	
United	States	of	America.	

	      Of	 the	 Macy’s,	 Inc.	 defendants	 (Macy’s,	 Inc.,	 Bloomingdale’s,	 Inc.,	 Local	 3	
RWDSU/UFCW,	 Karen	 Hoguet,	 Jeffrey	 Kantor,	 Tony	 Spring,	 Elisa	 Garcia,	 Esq.,	
Stephen	 Von	 Wahlde,	 Esq.,	 Michelle	 Ronquillo,	 Susan	 Wright,	 Richard	 Law,	
Santiago	 Fernandez,	 Esq.,	 Susan	 Schiller,	 Elyse	 Vogel,	 Ariana	 Starace,	 Brittany	
Pressner,	 Robin	 Goodell,	 Susan	 Shekerchi,	 Cynthia	 Clemmons,	 Sharen	 Freeling,	
Brenda	Moses;	Paula	Sabatelli,	Aahren	DePalma,	Esq.,	and	Bernard	Manning)	good	
Plaintiff	–	Prosecutor	hereby	demands	in	good	faith	compensatory	damages	in	the	
sum	total	of	$US25,000,000.00	(Twenty-five	Million	United	States	Dollars	and	Zero	
Cents)	and	asserts	such	Claim	against	their	assets;		
	      Of	 the	 CIGNA	 Corporation	 defendants	 (CIGNA	 Corporation,	 Nicole	 Jones,	
Esq.)	 good	 Plaintiff	 –	 Prosecutor	 hereby	 demands	 in	 good	 faith	 compensatory	
damages	in	the	sum	total	of	$US2,500,000.00	(Two	Million	Five	Hundred	Thousand	
United	States	Dollars	and	Zero	Cents),	where	such	a	sum	will	be	levied	on	behalf	of	
the	People	of	the	United	States	and	paid	directly	to	the	United	States	Department	
of	the	Treasury	and	asserts	such	Claim	against	their	assets;		
	      Of	 the	 Bank	 of	 America	 Corporation	 defendants	 (Bank	 of	 America	
Corporation,	Terrance	P.	Laughlin)	good	Plaintiff	–	Prosecutor	hereby	demands	in	
good	 faith	 compensatory	 damages	 in	 the	 sum	 total	 of	 $US2,500,000.00	 (Two	
Million	 Five	 Hundred	 Thousand	 United	 States	 Dollars	 and	 Zero	 Cents)	and	asserts	
such	Claim	against	their	assets;			
	      Of	the	American	Arbitration	Association	defendants	(American	 Arbitration	
Association,	 Ann	 Lesser,	 Esq.,	 Heather	 Santo)	 good	 Plaintiff	 –	 Prosecutor	 hereby	
demands	in	good	faith	compensatory	damages	in	the	sum	total	of	$US100,000.00	
(One	 Hundred	 Thousand	 United	 States	 Dollars	 and	 Zero	 Cents)	 and	 asserts	 such	
Claim	against	their	assets;		

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	         Of	all	the	defendants,	good	Plaintiff	–	Prosecutor	hereby	demands	in	good	
faith	 punitive	 damages	 in	 the	 sum	 total	 of	 $US100,000,000.00	 (One	 Hundred	
Million	United	States	Dollars	and	Zero	Cents)	(where	25%	of	such	monies	collected	
will	be	allocated	by	Plaintiff	to	a	standalone	Fund	to	assist	United	States	citizens	in	
the	pursuit	and	resolution	of	meritorious	State	or	Federal	litigation	claims	accrued	
in	the	context	of	employment	controversies)	and	asserts	such	Claim	against	their	
assets;		
	         For	 a	 total	 Demand	 of	 $US30,100,000.00	 in	 compensatory	 and	
$US100,000,000.00	in	punitive	damages	asserted	against	the	defendants’	assets	–	a	
sum-certain	total	of	$US130,100,000.00	in	total	monetary	damages.	
	

V.		      PLAINTIFF	–	PROSECUTOR’S	CERTIFICATION	

	     Good	 Plaintiff	 –	 Prosecutor,	 self-represented	 and	 destitute	 due	 to	 the	
damages	 inflicted	 by	 the	 defendants	 en	 masse,	 certifies	 to	 the	 best	 of	 his	
knowledge,	information,	and	belief	that	the:		

       1. Complaint	 is	 not	 being	 presented	 for	 an	 improper	 purpose	 (such	 as	 to	
          harass,	 cause	 unnecessary	 delay,	 or	 needlessly	 increase	 the	 cost	 of	
          litigation);		
       2. Litigation	 Claims	 are	 supported	 by	 existing	 law	 or	 by	 a	 non-frivolous	
          argument	to	change	existing	law;		
       3. Factual	contentions	have	baseline	evidentiary	support	or	will	most	certainly	
          have	 full	 evidentiary	 support	 after	 a	 reasonable	 opportunity	 for	 further	
          investigation	or	via	formal	Discovery	processes;	and		
       4. Complaint	otherwise	complies	reasonably	with	the	requirements	of	Federal	
          Rule	of	Civil	Procedure	11.	

	

	

	

	

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WHEREBY	 Plaintiff-Prosecutor	 now	 does	 request	 that	 Her	 Honour	 the	 Chief	
United	 States	 District	 Judge	 for	 the	 Southern	 District	 of	 New	 York	 dispatch	
immediately	 United	 States	 Marshals	 Service	 to	 Summon	 personally	 all	 the	
nefarious	Named	defendants	to	Court	to	Answer	for	their	Crimes	against	him.	

	
Dated:		    This	the	25th	day	of	September	in	the	year	2017	
	      	    New	York	County,	New	York	
	
	      	    	      	       	
Duly	Executed:	    	       	      	
	      	    	      	       ___________________________________	
	      	    	      	       Seth	Mitchell,	Plaintiff–Prosecutor	&	Sole	Claimant,	
	      	    	      	       17-CV-1845	(CM),	$US130.1	Million	Litigation	Claims	
	      	    	      	       208	East	51st	Street,	Suite	391,		
	      	    	      	       New	York	County,	New	York,	10022	
	      	    	      	       Direct:	1.646.801.2045	
	      	    	      	       Email:	seth.mitchell@ashemllc.co	
	
	
	




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  From:    Seth Mitchell seth.mitchell@bloomingdales.com
Subject:   Employee relations concern...
   Date:   January 3, 2017 at 11:38
     To:   Richard Law Richard.Law@bloomingdales.com
    Cc:    seth.mitchell@ashemllc.co

       Dear Richard,

       Best wishes for the New Year and many apologies for reaching out once again with a very sensitive matter, but for Macy's,
       Inc. and I, I must document the following, now:

       On at least three instances over the past several months I have been the purposeful victim of Associate Ms. Paula
       Sabatelli (lower level station on Floor 7) exposing her breast to me (literally), on the salesfloor.

       The most recent occurrence was last week, and a witness with me when it happened was Ms. Karen Williams, although
       I'm not certain if she saw the act committed - however I did disucss this incident with her at a later time.

       Thank you very much Richard for understanding that this Cannot happen again.

       Seth


       Seth Mitchell
       Sales Generalist - Luxury Home
       Bloomingdale's Flagship
       1000 Third Avenue, Floor Seven
       New York, New York 10022

       Private Mobile: 1.646.801.2045
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NEW REPORT | FOLLOW-UP REPORT | CODE OF CONDUCT | CONTACT LIST | HOME | CLOSE WINDOW


 ADDITIONAL REPORT DETAILS


   Please provide any additional details for this report in the box below.




 ATTACHMENTS


  To attach files related to the issue being reported, please click here.

  Attachments are submitted with the report as a permanent record and can be viewed by all report recipients.


 REPORT HISTORY


                   Date                              Type                                              Details

            2017-01-27 13:36             Details provided by reporter What is your involvement in the issue? - It happened to me
                                                                      Is this an ongoing issue? - Yes
                                                                      What is the date of the most recent occurrence? - 1/27/17
                                                                      Have you reported this issue to anyone within the organization? - Yes
                                                                      Do you believe that anyone has taken steps to hide this issue? - Yes
                                                                      Where did the issue occur? - Onsite
                                                                      What is your relationship to the company? - Employee

                                                                        Seth feels Ariana, Susan Schiller, Susan Wright, and Brittany have
                                                                        discriminated against him and harassed him because he is a
                                                                        Caucasian American male and over 45 years old. Seth has submitted
                                                                        evidence to this persons that his job performance is exemplary based
                                                                        on upon sales for the last year. Seth has been passed over for
                                                                        promotions and upward mobility because he is a Caucasian male.
                                                                        Only one other male has been promoted during Seth's time with the
                                                                        company, and this male is Brazilian and has less time in the company
                                                                        than Seth. Other women have been promoted within the company
                                                                        also.

                                                                        Seth has documented with HR that he has non-physical disabilities
                                                                        that he needed accommodations for. Ariana, Susan Schiller, Susan
                                                                        Wright, and Brittany have ignored Seth's requests, and Seth feels
                                                                        subjected to unfair treatment and harassment due to the
                                                                        accommodation requests. The company has a zero tolerance policy for
                                                                        discrimination or harassment of any kind, but Seth said this policy has
                                                                        been violated over many months by these specific individuals and
                                                                        possibly other individuals. Seth has experienced horrific treatment on
                                                                        the job for at least six months and works in a hostile environment.

            2017-01-30 11:01              Response provided by the Thank you for taking the time and making the effort to report your
                                               organization        concerns. The Company appreciates the steps you have taken to
                                                                   ensure that Company policies are upheld. An investigation was
                                                                   completed based on the information received. Appropriate action was
                                                                   taken in accordance with company policy. If you have further
                                 questions or concerns, please contact Richard Law at
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